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                            EXHIBIT E
          September 2019 Expert Report of Charles Platt
                        (“Platt Report”)




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                                  UNITED STATES DISTRIC COURT
                               CENTRAL DISTRICT OF CALIFORNIA


 CHRISTOPHER DUEKER, individually, and on               Case No.: 2:180cv008751-FMO-FEM
 behalf of all other similarly situated current and     The Hon. Fernando M. Olguin
 former employees of Defendants,
                                                        CLASS ACTION
         Plaintiffs,
                                                        REBUTTAL REPORT OF CHARLES PLATT
 v.

 CRST EXPEDITED, INC. and DOES 1 through
 50, inclusive,

         Defendants.




                             REBUTTAL REPORT OF CHARLES PLATT



I.      Qualifications and Experience

        1.      I, Charles Platt, state that I am providing this rebuttal report as an expert retained to

provide expert testimony in this case. I maintain a reasonable degree of certainty of the opinions and

conclusions stated herein.

        2.      I am the Director of Structured Data Analytics at iDiscovery Solutions, Inc. (“iDS”), a

consulting firm that provides digital forensics, data analytics, and electronic discovery services in

conjunction with litigation and investigations. I have held this position, among others, since I joined iDS

in 2014. Including at iDS, I have over twenty-nine (29) years of experience in information technology,

relational database technology, digital forensics, and electronic discovery. My CV is attached as Exhibit

A to this Report.

        3.      I have a bachelor’s degree in Computer Information Systems and a master’s degree in

Management of Secure Information Systems. I hold industry certifications in software development,




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database administration, digital forensics, and cyber-security, including Microsoft Certified Database

Administrator (MCDBA), EnCase Certified Examiner (EnCE), C/C++ Certified Unix Developer, and

Certified Information Systems Security Professional (CISSP).

        4.      I have provided consulting services related to litigation, electronic discovery and

structured data analysis for over 15 years and have testified in both state and federal court as an expert

related to the same. I have analyzed and produced data from various database systems, including Driver

Logs, and have developed, described, and implemented methodologies for expert analysis of structured

data. I have previously evaluated and testified regarding another expert’s methodology for analyzing

structured data (Rigzone v. Oilpro, Case No. 4:16-cv-01670).

        5.      On June 14, 2019, Scopelitis, Garvin, Light, Hanson & Feary, P.C., Counsel for CRST

Expedited, Inc. (“CRST”) retained iDS to assist with the analysis of data related to this matter.

Specifically, iDS was engaged to review the June 3, 2019 (“June Report”) and September 6, 2019

(“September Report”) Expert Reports of Aaron Woolfson and provide an expert opinion regarding his

analysis.

        6.      iDS is being compensated at the hourly rate of $495 for my time. The hourly rates of the

iDS professionals who have performed work at my direction in connection with my preparation of this

report range from $295 to $495. My compensation is unaffected by the content of this report, my

testimony, or the outcome in this matter.

        7.      In addition to my own work, I was assisted by members of iDS’ Data Analytics Team in

performing analysis in this matter. When I state ‘I,’ ‘Myself,’ or ‘iDS’ I mean this work was done by

myself, or by people working at my direction within iDS.


II.     Scope of Engagement and Summary Opinions

        8.      Counsel for CRST has requested that iDS review and assess the methodology and

opinions of Aaron Woolfson. Additionally, iDS was asked to replicate Mr. Woolfson’s analysis, if

possible.



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        9.       Based on my analysis to date, I have made several conclusions that fall into two general

categories: Analysis and Methodology.

        10.      My Analysis Conclusions are related to the analysis performed by Mr. Woolfson upon

which his results are based. My primary conclusion is that Mr. Woolfson’s analysis is overly generalized,

does not properly account for specific situations that are present in the data, ignores data that would

address these situations, and overlooks the potential impact this will have on the overall damage analysis.

        11.      My Methodology Conclusions are related to the methodology Mr. Woolfson employed

for his analysis and upon which his results are based. These conclusions include:

                 a) The Woolfson Report lacks sufficient explanation and detail to replicate his analysis

                    and confirm his findings.

                 b) Mr. Woolfson’s methodology for data handling is unnecessarily complex, prone to

                    error, and illustrates a lack of concern for proper data handling techniques.

                 c) The source code produced by Mr. Woolfson in Exhibit J is not an accurate and

                    complete representation of the code used by Mr. Woolfson for his analysis as it

                    includes syntax errors, is missing code, and includes improper sequencing of code.

                 d) The source code produced by Mr. Woolfson in Exhibit J is unreliable and inconsistent.

                    Replicating his analysis based on this code is a matter of guesswork and speculation.

        12.      The basis for my opinions is presented below.


III.    Background Information

        13.      This report is based upon my education, training, and years of experience, as well as the

Expert Reports of Aaron Woolfson (“Woolfson Reports”), the attached exhibits, primarily Exhibits J1 and

J2, the rough transcript of Mr. Woolfson’s September 25, 2019 Deposition, and the data produced by

plaintiff and defendants in this matter and referenced in the Woolfson Reports. The materials received

and relied upon for this report are listed in Exhibit B. This includes the data produced in this litigation

and related correspondence between counsel. I understand that Mr. Woolfson has offered to produce the



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database he used for his analysis. In the case that his database or additional data is produced, I reserve the

right to modify this report and any opinions I have made based upon that evidence.


IV.      My Methodology for Analysis

         14.      In order to review and understand the data that was used in Mr. Woolfson’s reports I used

several industry standard tools and followed a specific methodology.

         15.      The methodology I followed was:

                  a) Cataloged and hashed the files produced by defendant (Included as Exhibit B to this

                      report).

                  b) Identified and separated all Excel files (files with the extension “xlsx” or “xls”) from

                      the data set.

                  c) When present, removed excess header information from the excel files 1.

                  d) Loaded the excel spreadsheets into a SQL Server database, tracking source file and

                      line number 2 for each set of data loaded.

                  e) Verified the data loaded into SQL Server:

                       (i) Manual spot-checking of specific files and records.

                       (ii) Counting and Reconciling of lines in source files and records in SQL tables.

                       (iii) Confirming field types (e.g. dates are valid) and ranges (same date ranges in

                           source and destination).

                       (iv) Performed high level counts for Driver IDs, including date ranges, total records

                           per driver, and total unique drivers.

                  f) Created specific fields for typed values (e.g. dates and integers.) 3



1
  In many cases the excel spreadsheets contained additional, redundant header information in the first 15-20 rows of
the sheet. This data was also present to the extent required within the body of the sheet.
2
  This is the line number after removal of excess header information.
3
  When loading data from Excel to SQL Server all data was loaded as character (nvarchar) data. This is done so that
if any data does not fit the expected data type, it will still be loaded and not return any errors. Once loaded into SQL
it is then confirmed and converted. The data is converted to specific type fields (integer and datetime) so that SQL


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                  g) Extracted date and integer values into typed fields, specifically odometer values

                      (IDS_StartOdometer) and start times (IDS_StartTime).

                  h) Deduplicated the records.

                      (i) Identified duplicate records and near-duplicate values by concatenating fields and

                           hashing them using the MD5 algorithm, where the hash value was the same the

                           records were considered duplicates. The hash values were stored with each

                           record (IDS_Hash and IDS_Hash_NoDepot).

                      (ii) Duplicate records required all source fields to be identical.

                      (iii) Near duplicate records required all fields to be identical with the exception of

                           DepotID.

                      (iv) Added flag (‘bit’) fields to each table (IDS_Duplicate and

                           IDS_Duplicate_NoDepot) that were set to 0 for unique records and 1 for

                           duplicates.

                  i) Identified Historical vs. Active records.

                      (i) I used the Edit, OrigLogID and LogID fields.

                      (ii) Added a ‘bit’ field to each table (IDS_Historical) that was set to 0 for active

                           records and 1 for historical.

                  j) Determined the Ending Time of the logentry by adding the Duration value to the

                      StartTime value and stored the result in a datetime field called “IDS_EndTime”.

                  k) I then sequenced the data based on DriverID, Date, and LogID, and determined the

                      next log entry for the Driver.

                      (i) For performance purposes, I copied the odometer value from the next log entry to

                           the current log entry into a field called “IDS_EndOdometer”, thus providing both

                           start and stop odometer values on a single record.


functions can operate on them. For example, filter for all dates after 12/27/2013 only works correctly if the field
being filtered on is in datetime format, not nvarchar.


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                      (ii) I also copied the location value from the subsequent entry to the current log entry

                          and stored this in a field call “IDS_EndLocation”, thus provided both start and

                          stop location values on a single record.

                 l) I identified data that had imperfect values, such as odometer values of “0” and “-1”. I

                      did not exclude these records from my analysis, as they are an important part of the

                      sequence, but I did account for them when computing total distance moved.

                 m) I created a flag (‘bit’) field (“IDS_Include”) to determine the log entries that were

                      within the proper date range as explained to me by counsel, all log entries that were

                      dated on or after December 27, 2013 and prior to April 16, 2019.

           16.   I was then able to query the database to determine the total time spent in ‘sleeper’ status

and compare it to the total distance (change in odometer reading between status changes) travelled by the

tractor.

           17.   I relied upon the following tools during my engagement and for the analyses contained

within this report:

                 a) Adobe Acrobat Pro DC (Version 2019.012.20035)

                 b) Microsoft® SQL Server (Enterprise, 13.0.4474.0)

                 c) Microsoft® SQL Server Management Studio 2016 (13.0.16000.28)

                 d) Microsoft® Excel (Version 16.0.11727.20210)

                 e) xIOT® (3.0)


V.         Conclusions Related to Analysis

           18.   Mr. Woolfson’s analysis is generalized, does not properly account for and include the

data produced by defendant, and is based on assumptions that are illogical when the specific data is

accounted for.

           19.   Mr. Woolfson assumes that if the tractor is moving during a sleeper berth segment wholly

within California, that the entire sleeper berth segment should be considered as “moving.” This



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assumption is not sustained by the data. For example, if the average speed of the tractor over the entire

period is less than 5mph, it would seem overly generalized to believe that the entire segment should be

considered as movement while in the berth. 4

        20.        Mr. Woolfson makes an attempt to correct for this by excluding any segment that is less

than 2 miles (See Figure 2: Miles <= 2) in total. He also excludes any sleeper berth segment that exceeds

15 hours (See Figure 1: Minutes > 900) in total duration from his analysis. These exclusions fail to take

into consideration the total time spent in the berth against the total movement, e.g. 5 miles over 10 hours

would not be excluded. Both of these points are in conflict with his deposition testimony that he excluded

segments of less than 5 miles in total distance and more than 10 hours in total duration.

              Line No.   Source Code
                 001     If Val(californiaMinutes(temp2)) > 900 Then californiaMinutes(temp2) = ""

              Figure 1: Minutes > 900 Excluded Exhibit J1 of September Report Page 25 (emphasis added)



           Page 108 of Rough Transcript Woolfson Deposition
           7 Q. So tell me how that is excluded as counting any
           8 sleeper berth time greater than 10 hours? Because you
           9 linked it to new date, right?
           10 A. Right.
           11 Q. So does that mean that for example, if the date
           12 was not new, right, let's say somebody goes into the
           13 sleeper at 6 a.m. And then is there until midnight.
           14 A. That wouldn't be included in my sleeper
           15 minutes.
           16 Q. Would that be excluded by this?
           17 A. Yeah, because that 600 minutes, they're not
           18 going to be in the sleeper for 10 hours.



              Line No.   Source Code
                 001     If Val(miles(temp1)) <= 2 Then miles(temp1) = ""

              Figure 2: Miles <= 2 Excluded Exhibit J1 of September Report Page 23 (emphasis added)

           Page 75 of Rough Transcript Woolfson Deposition
           2 Q. Do you have a recollection generally of what it
           3 was?
           4 A. I think it had to be five miles.
           5 Q. So if the odometer reported a one or two-mile


4
 On January 28, 2014 at 12:32am Driver ID 699BD logged his status as Sleeper. His next status change is on the
same date at 11:06am, to Driving. Between these times the tractor’s odometer increased by 2.2 miles. This is
present in CRST_D016014 on line nos. 653 through 656. This equals an average speed of 0.2mph for a duration of
roughly 10½ hours.


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             6 change over a period exceeding an hour, how would you
             7 have handled computing the total amount of time that the
             8 driver spent in the sleeper berth while the truck was
             9 moving?
             10 A. Well, that depends upon whether or not there
             11 are multiple entries of two hours between, or an hour
             12 between, and the number of miles. But if the number of
             13 miles, as a sum of the difference of each of those parts
             14 of those segments of DOT-indicated trips was less than
             15 five miles, I don't think that I incorporated those into
             16 my analysis even if there was a significant amount of
             17 sleeper time.



           21.     Upon a cursory review of the original data set I have been able to identify over 1,000

relevant log entries 5 where the change in the tractor’s odometer over time indicates movement would

have been at less than 5 mph for the entire sleeper berth period or where the entire period spent in the

sleeper berth was 10 hours in length or longer.

           22.     Some specific examples of this are depicted in Figure 3. The examples in Figure 3

represent a total of 2 Days 4 Hours and 11 Minutes of what Mr. Woolfson’s report and analysis would

count as compensable sleeper berth time for a total tractor movement of less than 100 miles, or

approximately a constant speed of just under 2mph.

    Line    Source File     Source                      Sleeper      Start         End          Total       Average
                                        Log ID
    No.      Bates No.     Line No.                    Duration    Odometer 6    Odometer      Distance   Speed (MPH)
    001    CRST_D016014         653    35284482    10hrs 34min         1,377.2       1,379.4        2.2            0.2
    002    CRST_D016016         799    57045532     4hrs 53min       75,580.7      75,583.6         2.9            0.6
    003    CRST_D016011       2,236    88184278     8hrs 24min      104,500.5     104,519.8       19.3             2.3
    004    CRST_D016025       2,874    54576399     13hrs 7min      324,186.2     324,223.9       37.7             2.7
    005    CRST_D016025       2,992    54858645    14hrs 36min      329,511.8     329,542.4       30.6             2.1

    Figure 3: Examples of sleeper berth segments where tractor odometer changes.



           23.     Lines 001 through 003 are indicative of the tractor moving only a minor distance when

the individual was logged in the sleeper berth for a long period. Stating that the entire sleeper berth

duration should be assumed as under movement in this scenario is simply illogical, and yet Mr. Woolfson



5
  The relevant log entries are all or partially within California and fall between the dates of December 27, 2013 and
April 16, 2019.
6
  Odometer values in the source date provided do not contain decimals points, but are precise to the 10th of a mile.
The odometer values presented in this report have had the decimal points added to them for clarity.


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 only filters these out of his analysis if the total distance travelled is less than 2 miles. It is also quite

 possible that the actual time spent in the sleeper berth was not the entire 8 or 10 hours indicated by the log

 and that the movement time did not coincide with time spent in the sleeper berth. Mr. Woolfson fails to

 take this possibility into account.

         24.      Lines 004 through 005 are indicative of larger movements of the tractor, but over such

 long periods of time, a minimum of 12 hours, that it is difficult to believe that an individual was actually

 in the sleeper berth the entire time. The improbability of Mr. Woolfson’s conclusion to the contrary is

 increased when one considers that the driver of a commercial motor vehicle can only drive for 11 hours in

 a 24-hour period before being required to take a 10-hour break. Therefore, if the driver identified was in

 the sleeper berth, it is almost certain that the truck was not moving the entire time.

         25.      This does not tell us if the movement all occurred within California or if the individual

 was in the sleeper berth during the movement. It is important to note that the data relied upon, driver

 logs, cannot be used to determine at what point during this long duration an individual was in the berth or

 if that coincided with when the movement occurred. The GPS data from the tractors produced would

 provide the answer as to when the tractor was moving, but Mr. Woolfson chose not to use this data for his

 analysis or his conclusions. Without being able to determine when the tractor was moving, it is not

 possible to conclude if an individual was in the sleeper berth during the time the tractor was in movement,

 or for how long the tractor was in motion during the sleeper berth segment. Mr. Woolfson fails to take

 this into account and ignores data that was produced that would have been able to help answer this

 question more accurately than just relying on the driver logs.

         26.      Without knowing the speed of the tractor or the times that it was in movement it cannot

 be determined how much time an individual may have been in the sleeper berth during movement. For

 these log entries, Mr. Woolfson’s analysis would incorrectly conclude that the tractor was in movement

 the entire time that the individual was in the sleeper berth.

         27.      Mr. Woolfson’s process for determining how much time was spent in California on

 multi-state segments is flawed. First, he assumes that when leaving California, the tractor must pass


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 through one of five cities, which he refers to as “egress” points. These cities are Hombrook, Blythe,

 Needles, Nipton, and Mystic.
                           Page 81 of Rough Transcript Woolfson Deposition
                           13 A. Well, I looked at the most likely egress point
                           14 from the State of California, and I used the city, not
                           15 the border itself, but I used a major metropolitan area
                           16 that was closest -- metropolitan area I should say --
                           17 closest to the egress state along the route that the
                           18 truck would have taken.


         28.      Second, he uses miles in California as a proxy for time in California. Without knowing

 the speed at which the tractor was moving this cannot be assumed to be accurate.

         29.      This can be seen in Figure 4 which shows the code used by Mr. Woolfson to access the

 Google Distance Matrix 7. He extracts both the mileage and the time (Lines 003 through 015) from

 Google, but only stores the mileage in his SQL database (Lines 024 through 027.)




 7
   The Google Distance Matrix, or Google Maps API, is a library of computer programs provided by Google for
 performing mapping and geolocation functions. This code allows developers to use pre-built functions for
 calculating distance, time, and geolocation of GPS and map data, for example determining the distance between two
 locations.


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               Line No.   Source Code
                  001              AB$ = FileText.ReadLine
                  002
                  003            If InStr(AB$, "<duration>") > 0 Then isDuration = True: isDistance
                  004     = False: duration = ""
                  005            If InStr(AB$, "<distance>") > 0 Then isDuration = False: isDistance
                  006     = True: distance = ""
                  007             Debug.Print AB
                  008             If isDuration Then
                  009                     Text = XML(AB$, "<text>")
                  010                     If Text <> "" Then duration = Text
                  011             End If
                  012             If isDistance Then
                  013                     Text = XML(AB$, "<text>")
                  014                     If Text <> "" Then distance = Text
                  015             End If
                  016     Loop
                  017
                  018     FileText.Close
                  019
                  020     If distance <> "" Then
                  021             miles = 0
                  022             miles = (Val(LTrim(RTrim(Before(distance, "mi")))))
                  023
                  024              SQL "update AZ set [miles] = " & p(miles, 0, True) & ""
                  025              SQL "where cityA = " & p(locationA, 0, True)
                  026              SQL "and cityZ = " & p(locationZ, 0, True)
                  027              GoSQL
                  028
                  029     End If

               Figure 4: Google API Code Exhibit J1 of September Report Page 18 (emphasis added)



         30.        This is in direct conflict with his deposition testimony, where he stated:
                              Page 82 of Rough Transcript Woolfson Deposition
                              13. A I did not assume a constant rate of speed.

                              Page 79 of Rough Transcript Woolfson Deposition
                              23 Q. How long did you assume that it was moving?
                              24 What would you have calculated that as?
                              25 A. I would have calculated that by looking at the

                              Page 80 of Rough Transcript Woolfson Deposition (emphasis added)
                              1 distance matrix and the amount of time that the Google
                              2 Distance Matrix said between those two points, because
                              3 the distance between those two points may have a GPS
                              4 actually indicated another point that isn't reflected
                              5 here. So I didn't use -- I didn't use this as the
                              6 amount of time. I would have attributed the amount of
                              7 time that the most reasonable between those two
                              8 locations and the most reasonable time between those two
                              9 locations, according to Google Distance Matrix.



         31.        In his deposition testimony he states that he used the Google Distance Matrix to

 determine the amount of time spent in the sleeper berth while the tractor was moving. He also stated that


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 he did not assume a constant rate of speed when calculating the time spent in the sleeper berth. This is

 incorrect. In his code he never actually stores 8 the Google Distance Matrix duration and he does not rely

 upon it for his analysis, rather he relies upon the total segment time and multiplies time by the percent of

 miles in California, in effect assuming a constant rate of speed.

          32.      Exhibit C includes extracts, marked as Figures C.1 through C.13, from Mr. Woolfson’s

 source code that was included in his September Report as Exhibits J1 and J2. These extracts walk

 through the process used by Mr. Woolfson to determine the total minutes spent in the sleeper berth while

 the tractor was in motion.

                   a) Figures C.1 through C.3 show the total segment time being extracted from the driver

                       logs into the sleeper table. 9

                   b) Figures C.4 through C.5 show the total odometer miles being extracted from the driver

                       logs into the sleeper table.

                   c) Figure C.7 shows Mr. Woolfson’s notation that the Visual Basic Code (“VB Code 10”)

                       should be run at this point.

                   d) Figure C.8 shows the VB Code that saves the segment time and odometer mileage

                       from the sleeper table to a local file.

                   e) Figure C.9 shows the VB Code reading these values back out of the local file and

                       stored into variables, e.g. minutes() for time and miles() for mileage.

                   f) For segments where both end points are in California:


 8
   Storing the Google Distance Matrix time duration is a required step for Mr. Woolfson to take in order for him to be
 able to use it later in his analysis. This is the equivalent of asking a question and then writing the response down so
 you can refer to it later. Mr. Woolfson requests from Google how long it will take to travel between two locations
 and how far it is. Google responds with both the duration and the distance. Mr. Woolfson electronically writes
 down the distance in his database, but fails to write down the duration. Therefore, later on, when he needs to
 compute the duration, he no longer has the duration that was provided by Google and instead has to rely on the
 duration provided by the driver logs.
 9
   Mr. Woolfson extracts data from the driver logs into the ‘sleeper’ table. He relies on the sleeper table to computer
 the total time spent in the sleeper berth while the tractor is in motion. Extracting data into the sleeper table shows
 the data that he relied upon for these calculations, in this instance the driver log data rather than the Google Distance
 Matrix data.
 10
    VB Code is Visual Basic source code written by Mr. Woolfson for performing analysis against the driver log data,
 specifically in this instance related to the Google Distance Matrix analysis that he performed.


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                         i)   Figure C.10 shows that for segments with both end points in California, Mr.

                              Woolfson used the total segment time to determine the time spent while the

                              tractor was moving in California.

                  g) For segments which are multi-state:

                         i)   Figure C.11 shows code retrieving the distance in miles from the current

                              location to the nearest egress city based on data retrieved from the Google

                              Distance Matrix.

                         ii) Figure C.12 shows the code that computes the total time spent in California.

                              This is based on segment minutes 11, segment miles 12, and caMiles 13.

                  h) Figure C.13 shows these miles and minutes being stored back into the sleeper table.

         33.      I therefore conclude that Mr. Woolfson’s formula for time spent in the sleeper berth on

 multi-state segments while in California is:



       (((Total Segment Minutes) x ((Google Miles to Nearest Egress City) / (Total Odometer Miles))) – 1



         34.      In addition to this formula, in his revised September Report, Mr. Woolfson includes a

 second, different set of code that he uses to determine the total mileage for segments that are multi-state.

 This is inconsistent with the text of his report, which states that he “compared the number of miles driven

 on the odometer, against the number of miles that was in the Google geocoding distance matrix, to

 determine what percentage of driven miles were in California.” 14

         35.      The new formula only applies to multi-state segments, only to the new, larger data set,

 and highlights a difference in methodology between his initial report and his revised report. The primary

 difference is that, rather than using the odometer mileage, he relies on the Google Distance Matrix to


 11
    Total segment minutes from the sleeper table populated in Figures C.1 through C.3.
 12
    Total segment miles from the sleeper table populated in Figures C.4 through C.5.
 13
    Distance to nearest egress city calculated by using the Google Distance Matrix shown in Figure C.10.
 14
    Woolfson September Report, Page 12, Paragraph 36(c).


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 determine the total miles. He still inappropriately, and contrary to his deposition testimony, relies on the

 total segment minutes for the duration. This new formula is:



        (((Total Segment Minutes) x ((Google Miles to Nearest Egress City) / (Google Total Miles))) – 1



         36.     I also conclude that Mr. Woolfson’s didn’t use a formula for time spent in the sleeper

 berth during sleeper segments with both end points in California. Rather he used the total duration of the

 sleeper segment for this purpose.

         37.     It is inappropriate to use mileage, as done by Mr. Woolfson, to determine time. Mileage

 can only be related to time if we know the speed at which the vehicle was moving. Contrary to his

 testimony, Mr. Woolfson’s code shows that he did assume a constant rate of speed for the tractor and also

 assumed that the tractor was in motion for the entire sleeper berth segment.

         38.     For example, if a segment of 6 hours and 150 miles were split into California miles and

 Arizona miles, with 100 miles being in California and 50 miles in Arizona, one cannot then conclude that

 4 hours were spent in California and 2 in Arizona. If the average speed in California were 50mph, those

 100 miles would have taken only 2 hours to complete and the remaining 4 would be in Arizona at lower

 average speeds. Or, it is entirely possible that the tractor was stationary for 2 hours as well. The data

 relied upon by Mr. Woolfson does not indicate the speed of the vehicle, only total time and total mileage,

 and does not indicate for what portion of the time the tractor was in motion. Mr. Woolfson chose to not

 use the GPS data produced by defendant which would have answered this question conclusively.

         39.     It is also overly generalized to assume that simply because the start and end points of a

 single segment are within California, that the entire trip had to be wholly within California. The data

 provided does not provide a detailed route of the tractor’s movement, only the approximate current

 position of the tractor when duty status changes. Mr. Woolfson chose to not use the GPS data which

 would have answered this question.

         40.     I have reached the following opinions about Mr. Woolfson’s analysis:


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                    a) First, it is my opinion that not only are there critical flaws in the the assumptions that

                        Mr. Woolfson based his conclusions on, but that he had access to data that would have

                        resolved these flaws and he chose not to use it.

                    b) Second, his analysis is overly generalized and ignores specific evidence to the

                        contrary that is present in the data. The data does not support the assumption that an

                        individual was in the sleeper berth while the tractor was moving because (i) the

                        tractor’s odometer reading increased, (ii) after they set their duty status to ‘sleeper’,

                        and (iii) before they changed it to another status.

                    c) Third, assuming that the individual was in the berth and the tractor was moving for the

                        entire time that their status was set to ‘sleeper’ is illogical. This is especially true

                        when presented with ‘sleeper’ log entries that continue for 10 hours or longer

                        combined with mileage that indicates average speeds of less than 5mph.

                    d) Finally, there is no basis for Mr. Woolfson’s assumption, and he makes no attempt to

                        explain such in his report, that the tractor had to pass through one of the five ‘egress’

                        cities he selected when leaving California. In his deposition testimony he fails to

                        mention that the egress city must be one of his five pre-selected cities and instead

                        refers to them as “the closest egress point.”15 The GPS data that Mr. Woolfson had in

                        his possession would have given conclusive evidence as to exactly where the tractor

                        left California, but he chose not to rely on that data for his analysis.


 VI.        Conclusions Related to Woolfson Methodology

            41.     In order to allow me to independently verify Mr. Woolfson’s work, Mr. Woolfson needed

 to produce a clear and complete explanation of his methodology. His report fails to set this out. In the

 instances where Mr. Woolfson’s methodology is partially explained, it is overly complex and prone to

 error. This illustrates a less than rigorous methodology underlying his data analysis.


 15
      Woolfson Deposition, Rough Transcript, Page 84, Line 23.


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                                                    Ex. E, p. 454
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         42.      Additionally, the source code provided by Mr. Woolfson in Exhibit J to his reports

 contains syntax errors, is not presented in the correct sequence, and is missing sections of code. In short,

 when I tried to run the code Mr. Woolfson provided, it did not work.

                                       Lack of Sufficient Explanation

         43.      Mr. Woolfson’s report provides generalized descriptions of the processes he undertook to

 analyze the data, but these descriptions largely lack specifics required to reproduce his analysis.

         44.      For example, on Page 8 of the June Report, in Paragraph 21(d), Mr. Woolfson states

 “1,910 of the 141,754 timeclock entries that had occurred after 12/27/2013 were duplicates.” In the

 September Report there is no longer any mention of deduplication of the data. I am therefore left with

 three possible scenarios:

                  a) Mr. Woolfson determined that he was wrong in his initial determination of duplicate

                     records, and the data no longer required deduplication,

                  b) Mr. Woolfson forgot to deduplicate the records when performing his analysis for the

                     September report, or

                  c) Mr. Woolfson failed to properly document his methodology and left this step out of

                     his September report.

         45.      And nowhere in either report does he describe how he identified the duplicates or if they

 were identical duplicates or near duplicates. My initial analysis indicates that near duplicates appear in

 the data where the only difference between two records is the DepotID. Due to the lack of clarity in Mr.

 Woolfson’s report, I am unsure if he included or excluded these entries from his de-duplication process.

         46.      Additionally, the data includes historical changes, or what might be thought of as current

 and historical records. There are three fields provided, Edit, LogID, and OrigLogID. When OrigLogID

 contains a value other than “0” it appears that those records are part of a revised set of entries. When this

 is true, the driver and start time for the log entries will be identical, and in many cases the only difference

 between the records is that the Duty Status has been changed. For example, on February 14, 2015 at




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 5:19pm, driver 056J has six log entries as shown in Figure 5. Note the primary difference between these

 sets of records is the duty status of “Off Duty” vs. “Sleeper”. Also, note the Edit column appears to

 indicate the sequence in which the records were edited.

  Depot              Driver                                                              Orig Log                     Tractor
          Descript            Duration   Edit             Location             Log ID                 Start Time
   ID                  ID                                                                   ID                          ID
    8     OffDuty     056JD     401       1     4 mi W of Grand Terrace, CA   50488584   50704624   2/14/15 5:19 PM    1591
    3     OffDuty     056JD     401       1     4 mi W of Grand Terrace, CA   50488584   50704624   2/14/15 5:19 PM    1591
    1     OffDuty     056JD     401       1     4 mi W of Grand Terrace, CA   50488584   50704624   2/14/15 5:19 PM    1591
    3     Sleeper     056JD     401       2     4 mi W of Grand Terrace, CA   50704624   50488584   2/14/15 5:19 PM    1591
    8     Sleeper     056JD     401       2     4 mi W of Grand Terrace, CA   50704624   50488584   2/14/15 5:19 PM    1591
    1     Sleeper     056JD     401       2     4 mi W of Grand Terrace, CA   50704624   50488584   2/14/15 5:19 PM    1591

  Figure 5: Historical Records excerpt from CRST_D016009_CONFIDENTIAL.xlsx rows 1,126 – 1,131.



          47.        Mr. Woolfson does not provide any explanation as to how he handled this scenario or any

 clarification as to the assumptions he made about how the data was organized. During his deposition Mr.

 Woolfson stated that this conflict did not occur in the data.




          Figure 6: Example Worksheet from Woolfson September Report Page 7 (blue emphasis added)


          48.        Mr. Woolfson was asked about the data from his report shown in Figure 6 and asked to

 reconcile the entries circled in blue that appear with the same date, time, and Driver ID. His testimony

 was as follows:

                              Page 138 of Rough Transcript Woolfson Deposition
                              10 Q. Do you remember telling me that you did not
                              11 recall coming across any conflicting duty statuses for
                              12 the same individual at the same time?
                              13 A. I do recall that, and those were not -- any
                              14 shifts that had any conflicts whatsoever were not part
                              15 of my analysis.

                              Page 140 of Rough Transcript Woolfson Deposition
                              7 That's pretty common. Those aren't
                              8 conflicting. Those aren't conflicting entries. A
                              9 conflicting entry is that you have two sheets where the




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                          10 same person is doing two different things in the middle
                          11 of something that is illogical, doesn't make sense.

                          Page 140 of Rough Transcript Woolfson Deposition
                          18 Looks like -- well, there's no seconds that are
                          19 listed on here so I'd have to look at the exact data,
                          20 right. This is just a -- an output representation of
                          21 what came in on the Excel sheet as it is represented on
                          22 your Excel sheet.


         49.      Mr. Woolfson appears to be stating that these entries had seconds when he analyzed

 them, and that for reporting purposes the seconds were dropped off. That sorting them chronologically,

 with the seconds included, would resolve what appears to be a conflict. This is incorrect. The log data

 includes only hours and minutes, not seconds, and these are indeed conflicting records. They must be

 properly accounted for in order to arrive at the correct duty status for the driver when more than one duty

 status is present for the same date and time, and yet Mr. Woolfson does not account for this in either his

 report or in his code and when asked specifically about it during his deposition he misrepresents the data

 and his methodology.

         50.      Both Figure 5 and Figure 6 show current and historical records. The steps taken to

 determine which are current and which are historical would have a significant impact on the results of the

 analysis. In Figure 6 at 8:26 AM on July 14, 2015 this driver either went into On Duty status or Sleeper

 status. If the driver’s correct status is Sleeper, then the segment should be considered in the analysis. On

 the other hand, if the driver’s status is On Duty it should be excluded from the analysis. We do not know,

 and Mr. Woolfson appears not to know, which status would have been used in his analysis.

         51.      We are therefore left with two options for what Mr. Woolfson did: (i) either he took steps

 to address this conflict and didn’t explain in his report or in his deposition, or (ii) he was unaware of it,

 didn’t take steps to address it, and his results are flawed. Even if he took steps to address it during his

 analysis, he did not explain how he did so in his report and was unable to elaborate on that point during

 his deposition. When reviewing his report and exhibits I am unable to locate any code that would take

 this into account and determine which are historical and which are current. As a result, we are unable to

 determine if his analysis treated the data appropriately or not.




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         52.      Not only are there historical and active records shown in Figure 5, but there are multiple

 records for the same driver and start time, six in total. It is unclear how Mr. Woolfson handled this in his

 analysis and if these were considered duplicates and removed from analysis or not. Nothing in Mr.

 Woolfson’s Reports, testimony, or data sheds light on this issue.

         53.      Mr. Woolfson also fails to adequately explain the methodology he used for data

 cleansing. I have identified numerous relevant log entries where the odometer reading indicates “0” or “-

 1”. Since this is not a valid odometer reading, this data should be considered imperfect and accounted for

 when performing the movement analysis. Mr. Woolfson states in both his June Report and his September

 Report that he relied upon this odometer data 16, and his code 17 makes use of it, but he makes no mention

 of this imperfection and or how he accounted for it. This means that Mr. Woolfson either failed to

 explain his methodology thoroughly or that his conclusions are flawed because he failed to account for

 this imperfection in the data.

         54.      It is also interesting that in his revised September report, Mr. Woolfson appears to

 include new code 18 that would identify these invalid odometer readings, and yet nowhere does he exclude

 these invalid entries. Additionally, he only analyzes the odometer for invalid entries for some of the

 segments not all of them.

         55.      It is therefore my opinion that either Mr. Woolfson failed to properly and thoroughly

 explain the methodology he used for his analysis or his report gives a complete explanation and his results

 are flawed.

                                                Data Handling

         56.      When iDS receives data for analysis, it is generally provided in file formats such as CSV

 (Comma Separated Values) or Excel, as was done in this case. In order to work with the data, iDS moves



 16
    Woolfson June Report, Page 9, Paragraph 21(g), “In other words, according to the odometer, the tractor was in
 motion…” also Woolfson September Report, Page 14, Paragraph 37(b), “In other words, according to the odometer
 within California.”
 17
    Woolfson September Report, Exhibit J2, A0 - Pages 17 – 21, B0 - Pages 17 – 22.
 18
    Woolfson September Report, Exhibit J2, B0 - Pages 20


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 the data into a format better suited for analysis. For iDS, this is typically a Microsoft SQL Server

 database.

         57.      Each time the data is moved there is a risk of inadvertently altering it. To minimize this

 risk, iDS keeps the number of times the data is moved as small as possible and, when it must be moved,

 takes steps to verify the data after each move. For example, verification might include counting the total

 number of records in the source and reconciling that to the number in the destination to verify that all the

 records made it from source file A into database B.

         58.      In his report, Mr. Woolfson describes his process for moving data from the Excel files

 produced by defendant into the SQL Server Database he used for his analysis. When describing this

 process, he identifies multiple times where he moves the data between different formats but fails to

 mention how he verified the data after each move.

         59.      This is an overly complex process. Each move increases the possibility of introducing

 errors into the data. Mr. Woolfson began with data largely contained in Excel spreadsheets. Data from

 Excel spreadsheets can be directly moved into SQL Server with no interim steps. SQL Server provides

 this functionality natively through SQL Server Integration Services (“SSIS”). Mr. Woolfson should have

 used this process to move the data a single time. Instead, Mr. Woolfson undertook a multi-step process to

 load the data into the database. According to his report, these steps include:

                  a) First move the Excel data into text files 19,

                  b) then modify the text files using Visual Basic 20,

                  c) then move the text files back into Excel 21,

                  d) then convert the Excel files into MS Access databases (mdb files) 22, and

                  e) then finally transfer the MS Access database into SQL Server 23.



 19
    September Report, Page 11, Paragraph 36(b).
 20
    September Report, Page 12, Paragraph 36(d)
 21
    September Report, Page 12, Paragraph 36(e)
 22
    September Report, Page 12, Paragraph 36(e)
 23
    September Report, Page 13, Paragraph 36(f) & 36(g)


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            60.     This five-step process is much more complex and error-prone than simply transferring the

 Excel spreadsheets directly into SQL Server. While generally using a multi-step process would not be of

 great concern, Mr. Woolfson did not document his process for verifying the data after each step in the

 process, meaning I could not review his validation process to determine whether he properly accounted

 for the data in each step.

            61.     It is my opinion that an expert exercising due care and due diligence when handling data

 would seek to limit the number of times the data was moved and would seek to verify the data after each

 move. Mr. Woolfson’s complex process and lack of verification indicates a lack of concern with regards

 to best practices for data handling and, as a result, leads me to be concerned about the validity of the data

 he is relying upon for his analysis.

                                     Conclusions Related to Source Code

            62.     In his report, Mr. Woolfson claims that he uses source code to “restore the structure and

 contents of the time cards into the local SQL database.” 24 The source code he purports to have used was

 provided in Exhibit J to his reports.

            63.     Source code represents the detailed instructions followed by the computer to achieve a

 specific desired outcome, in this instance loading, processing, and analysis of the data produced by

 defendants. When writing source code there are rules that must be followed. If these rules are not

 properly followed, in the correct order and with the proper syntax, the computer will not be able to

 understand and properly execute the code.

            64.     These rules are in many ways similar to writing a book. Similar to writing a book, the

 sequence in which things occur is important. If we were to tear the pages out of a book and rearrange

 them, it would prove difficult, if not impossible, to read and understand the story. The same is true with

 computer source code, especially with SQL Source Code such as that provided by Mr. Woolfson in

 Exhibit J1. When the source code is not properly ordered, we are left to guess the sequence required to



 24
      Woolfson September Report, Page 11, Paragraph 35.


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 reproduce the results obtained by the author. Mr. Woolfson’s source code is not properly sequenced and

 does not provide adequate information needed to put it into the proper sequence. Colloquially, Mr.

 Woolfson’s source code fails to tell us a story.

         65.      Similarly, introducing a character to the reader prior to involving that character in the

 story is important. If the character is not properly introduced, the reader may be left wondering where

 they came from and who they are. The same is true in source code, if objects are not properly introduced,

 or declared, the computer will be unable to understand them and will return an error rather than

 proceeding. Mr. Woolfson repeatedly uses objects prior to introducing them in the source code provided.

 This is a key indicator that the source code provided is not presented in the same sequence that it was

 executed in by Mr. Woolfson.

         66.      Additionally, when an author introduces a character and gives them a name, the author

 should consistently refer to that character by the same name or provide clear notice to the reader that the

 character has other names. For example, if an author introduces a character named Robert, and then in

 the subsequent chapters refers to Bobby; the reader will be confused and left wondering if this is the same

 character as Robert or if Bobby is a new character. While a human reader might be able to make the

 intuitive leap and draw the connection between Robert and Bobby, a computer will not make such a

 connection and will refuse to recognize the new name as the same object. Consistently referring to the

 same object by its correct name is therefore critical for the program to work. If the name is changed, even

 by just a single character, the computer will assume that this is a new object that has not been properly

 introduced and will return an error rather than proceeding. Mr. Woolfson’s source code is not consistent

 in the use of object names. This is a key indicator that this is not the specific code Mr. Woolfson used for

 his analysis.

         67.      In a similar vein, when an author introduces a character and tells you who that character

 is, for example stating that Robert is a doctor, the reader expects for that to remain true for the duration of

 the story, unless the author makes an explicit and stated change. If Robert is suddenly and inexplicably

 working as an accountant, the reader would be confused, and the continuity and integrity of the story


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 would be questioned. The same is true with source code. If a specific object is defined in one way and

 then later that definition is altered without explanation it calls into question the integrity, continuity, and

 ultimately the reliability, of the code. Mr. Woolfson’s code includes changes to the formulas used to

 calculate values for specific fields that he relies upon to connect data points for his analysis. This is a key

 indicator that either this is not the code used by Mr. Woolfson for his analysis or that his analysis is

 flawed.

            68.   Finally, having the entire book is a critical factor in understanding the story. If several

 chapters of a book were removed the reader would be missing important information, including

 potentially critical events and characters. The same is true with source code. If code is missing, we are

 left guessing what that code may have done and how it may have altered the data. Further, once code is

 obviously missing, it is unclear how much additional code may be missing that isn’t obvious. Mr.

 Woolfson’s code has obvious sections that are missing. This is a key indicator that the code provided by

 Mr. Woolfson is not the totality of the code relied upon by Mr. Woolfson for his analysis.

            69.   In summary, all of these issues are present in the source code provided by Mr. Woolfson:

                      a) Code is missing,

                      b) object definitions / formulas are inconsistent,

                      c) objects are used prior to being declared, and

                      d) object names are used inconsistently.

            70.   The following sections highlight specific examples from the Woolfson Report where

 each of these issues is present.

                                                  Missing Code

            71.   In some instances when code is missing it is obvious. I have provided two obvious

 examples of missing code below. In the first instance the missing code will cause the program to fail with

 an error. In the second instance the code will run without error but will be ineffective and produce no

 results.




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           72.        An example of missing code that will cause the program to fail can be seen on line 005 of

 Figure 7. SQL code has strict requirements for what constitutes a complete statement and, in the example

 found on line 005, the “from” clause, which is required, is missing. A similar statement, seen on line 006,

 includes the required “from” clause.

           73.        Microsoft documentation explains this requirement, stating “The FROM clause is usually

 required on the SELECT statement. The exception is when no table columns are listed, and the only items

 listed are literals or variables or arithmetic expressions.” 25 This sole exception, when no table columns are

 listed, is not relevant here as the asterisk (“*”) is a place holder for “all columns” 26.


                 Line No.   Source Code
                    001     -- calendar day?
                    002     -- this is just california crews where the entirety of the trips from the excel
                    003     sheets
                    004     -- within califonia
                    005     select * into b_drivers
                    006     select * into allDrivers from drivers

                 Figure 7: Missing “from <tablename>” Code Exhibit J2 Page 4



           74.        When run this code will fail to execute and will produce the error shown in Figure 8.

                 Line No.   Source Code
                    001     Msg 263, Level 16, State 1, Line 1
                    002     Must specify table to select from.
                    003     Msg 1038, Level 15, State 5, Line 1
                    004     An object or column name is missing or empty. For SELECT INTO statements, verify
                    005     each column has a name. For other statements, look for empty alias names. Aliases
                    006     defined as "" or [] are not allowed. Change the alias to a valid name.

                 Figure 8: Resulting Error when running code from Line 005 of Figure 4.




 25
    Microsoft “Transact-SQL (T-SQL) Reference” documentation, https://docs.microsoft.com/en-us/sql/t-sql/queries/from-
 transact-sql?view=sql-server-2017
 26
    “* Specifies that all columns from all tables and views in the FROM clause should be returned. The columns are returned by
 table or view, as specified in the FROM clause, and in the order in which they exist in the table or view.” extract from Microsoft
 online reference documentation, https://docs.microsoft.com/en-us/sql/t-sql/queries/select-clause-transact-sql?view=sql-server-
 2017


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          75.          Not only does this code produce an error, but for Mr. Woolfson to perform his analysis he

 must have used a corrected version of the code that was not provided. According to the comments 27

 (lines 001 through 004) this code is used to segregate California drivers from all drivers, a key part of the

 analysis. Without this code, we do not know the rules that he applied to segregate out California drivers

 and cannot repeat his analysis or properly validate his results.

          76.          While the code from this example produces the errors shown in Figure 5, not all missing

 code will result in such obvious error messages. In some instances, when a section of code is missing, the

 program will execute without error but will produce ineffective or unreliable results. An example of this

 is illustrated in Figure 9.

          77.          In Figure 9, lines 004 through 007 are used to create the “AZ” table. Lines 009 through

 012 are used to update data in the “AZ” table. This code will execute without raising any errors, but the

 “AZ” table is never populated with data, and since it has no data, the update code, lines 009 through 012,

 will do nothing.

                Line
                        Source Code
                 No.
                001     -- this is where we create a table
                002     -- to create the major ingress/egress points in califorina
                003     -- to determine the number of miles.
                004     create table AZ (locationA varchar(180) null, locationZ varchar(180) null)
                005     alter table AZ add cityA varchar(120) null, cityZ varchar(120) null
                006     alter table AZ add offsetA int null
                007     alter table AZ add offsetZ int null
                008
                009     update az set cityA = substring(locationa,charindex('of ',locationA)+3,50)
                010     update az set cityZ = substring(locationz,charindex('of ',locationZ)+3,50)
                011     update az set cityA = substring(citya,4,50) where substring(cityA,2,1) = ')'
                012     update az set cityZ = substring(cityz,4,50) where substring(cityz,2,1) = ')'

                Figure 9: Missing Code from Woolfson Exhibit J2 Pages 29 & 30




 27
    Lines that are prefixed with “--” in SQL are comments. Comments are non-executing code used by developers to add plain
 English explanations for what the code is expected to be doing. Comments can provide insight into what a developers intent and
 mindset were when writing the code and assist other developers in reading the code.


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         78.          The results of executing the code from Figure 6 are presented in Figure 10. There are no

 errors, as seen in the previous example, but the results are consistently “0 rows affected”. This indicates

 that the code in lines 009 through 012 did not do anything.

               Line
                       Source Code
                No.
               001     (0 rows affected)
               002
               003     (0 rows affected)
               004
               005     (0 rows affected)
               006
               007     (0 rows affected)

               Figure 10: Results from running code in Figure 6.



         79.          The question this raises is, “If the code does nothing, why is it included?” It is my

 opinion that additional code should be present between lines 007 and 009, the purpose of which would be

 to populate the “AZ” table with data. The original code provided by Mr. Woolfson in his June Report

 never does populate the “AZ” table with data. If the “AZ” table was populated the code in lines 009

 through 012 would become effective and produce results. The code produced with Mr. Woolfson’s

 September Report does include populating the “AZ” table, but this occurs many pages after this section.

 This does not alleviate my concern that code is missing but raises the additional concern that the code is

 not presented in the sequence in which Mr. Woolfson executed it and that in order to replicate his analysis

 speculation is required to determine the proper sequence for executing his code.

                                              Missing Code Conclusion

         80.          These examples show that the source code produced is not complete and that sections of

 code are missing. These are not the only instances where code is missing or incomplete. The examples

 also show that where code is missing or incomplete it is also critical to the functioning of the analysis and

 to understanding how Mr. Woolfson arrived at his results.

         81.          Not only does obviously missing code impact our ability to replicate and validate Mr.

 Woolfson’s results but knowing that the source code is incomplete leaves us unsure if other, less obvious,

 sections of code have been omitted.



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                                          Object Use Prior to Declaration

          82.          Prior to using an object in SQL, the author must create and/or declare it. If this is not

 done, when the code is executed it will fail and result in an error. There are several instances in Mr.

 Woolfson’s code where objects are used prior to being declared or created.

          83.          In Figure 11 the table object “b_trips” is referenced, indicating that it must have been

 previously created, but there is no section prior to this in the code that would create and populate the

 table.

                Line
                        Source Code
                 No.
                001     select
                002     [Column 0]      as source,
                003     [Column 1]      as counter,
                004     [Column 2]      as         loadNumber     ,
                005     [Column 3]      as         LdOrDh         ,
                006     [Column 4]      as         Leg            ,
                007     [Column 5]      as         pickup         ,
                008     [Column 7]      as         completed      ,
                009     [Column 8]      as         startCity      ,
                010     [Column 10]      as         startState     ,
                011     [Column 11]      as         startAlias     ,
                012     [Column 12]     as         finishCity     ,
                013     [Column 13]     as         finishState    ,
                014     [Column 15]     as         finishAlias    ,
                015     [Column 16]     as         miles          ,
                016     [Column 17] as             TractorId                    ,
                017     [Column 18] as             trailerId                    ,
                018     [Column 19] as             TrlrDivi                     ,
                019     [Column 20] as             driver1                      ,
                020     [Column 21] as             name1                        ,
                021     [Column 22] as             driver2        ,
                022     [Column 23] as             name2          ,
                023     [Column 24] as             bookingSource                ,
                024     [column 25] as             driver1Division,
                025     [newId]     as newId
                026     into trips from b_trips

                Figure 11: Object use prior to declaration from Pages 2 & 3 of Exhibit J2 (emphasis
                added)

          84.          In Figure 12 on Line 005 the table object “californiaOnlyDrivers” is referenced. The

 code or process used to create this table is not provided by Mr. Woolfson in either his source code

 exhibits or in his report. Mr. Woolfson not only fails to tell us how he created this table, he also fails to

 tell us what data the table contained.




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               Line
                       Source Code
                No.
               001     -- all parts of the trip are exclusively within california
               002     select * into driversEntirelyWithinCalifornia from allDrivers where crossRef in
               003     (select crossRef from allDrivers (nolock) where state = 'CA')
               004     delete from driversEntirelyWithinCalifornia where crossRef in (select crossRef from
               005     californiaOnlyDrivers where state <> 'CA')
               006
               007     -- SET THE CROSSREF
               008     select top 10 * from drivers
               009     update drivers set crossRef = convert(varchar(30),date,101) + '|' + tractorId +
               010     '|' + driverId

               Figure 12: Object use prior to deceleration from Page 4 of Exhibit J2 (emphasis added)

         85.          This is concerning because in Figure 12 on lines 004 and 005 this table is being used as a

 reference for deleting data from another table, “driversEntirelyWithinCalifornia.” The comments

 associated with this section of code (Line 001 of Figure 9) indicate that this is part of the code that Mr.

 Woolfson relies upon for an essential part of his analysis – distinguishing if all or part of a segment

 occurred within California.

         86.          The requirement of declaring an object prior to using it applies to fields as well as table

 objects. In Figure 13 on Line 003, the field “crossRef” is associated with the drivers table. This field has

 not yet been created and added to the drivers table. This doesn’t occur until Line 008.

               Line
                       Source Code
                No.
               001     update drivers set newId = (select top 1 newId from
               002     drivers_including_all_duplicates
               003     where drivers_including_all_duplicates.crossRef = drivers.crossRef
               004     and drivers_including_all_duplicates.startTime = drivers.startTime
               005     and drivers_including_all_duplicates.descript = drivers.descript
               006     and drivers_including_all_duplicates.doc = drivers.doc)
               007     ---
               008     alter table drivers add crossRef varchar(30) null
               009     alter table drivers add driver1 varchar(120) null
               010     alter table drivers add driver2 varchar(120) null

               Figure 13: Field use prior to deceleration from Page 3 of Exhibit J2 (emphasis added)

         87.          It may seem possible to manually reorder this specific example and run the code in the

 the correct sequence, but resequencing requires speculation and guesswork without knowing the specific

 order in which order Mr. Woolfson ran the code originally. This is also only a single example from the

 code and leaves out the process of populating the field with data. Populating the field with data appears

 on Page 4 (Figure 12, Line 009).




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         88.     Re-sequencing the code to be in the correct order requires speculation and guesswork.

 Even where it is somewhat obvious, as in this example, there is no guarantee it will be the same order in

 which Mr. Woolfson performed his analysis.

         89.     In order to properly reproduce Mr. Woolfson’s analysis a complete and properly

 sequenced set of source code should be produced. Barring this, a complete outline of the methodology,

 including the steps taken and the order they were taken in, relied upon by Mr. Woolfson to arrive at his

 conclusions should be produced.

                                      Inconsistent Object Definition

         90.     When using formulas for field values it is important to remain consistent in both setting

 the value and when later referring to the value. For example, an object “US_State” can be set to values

 such as “CA”, “VA”, “ME”, and “FL”. If later the same object is referred to using values such as

 “California”, “Virginia”, “Maine”, and “Florida” the code will fail. If we are inconsistent in how we set

 the values, for example using “CA”, “The Golden State”, “California”, and “Cali” to represent California,

 there will be an adverse impact on our ability to analyze the data. These variances will not raise explicit

 errors, but rather will quietly fail to work and potentially go unnoticed when returning unreliable or

 inconsistent results. Therefore, unless Mr. Woolfson took additional verification steps—and he did not

 document such additional steps in his report— he would not have identified inaccuracies in his results.

         91.     This type of error can be seen in the code provided by Mr. Woolfson on Page 4 of Exhibit

 J1. In this code he defines the values associated with the “crossRef” field. He originally defines this

 value as a combination of Date, TractorID, and DriverID. This can be seen on lines 003 through 006 of

 Figure 14. Subsequently he changes the definition to be only Date and DriverID, dropping TractorID.

 This can be seen on lines 007 and 008 of Figure 14.




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                   Line
                           Source Code
                    No.
                   001     -- SET THE CROSSREF
                   002     select top 10 * from drivers
                   003     update drivers set crossRef = convert(varchar(30),date,101) + '|' + tractorId + '|'
                   004     + driverId
                   005     update allDrivers set crossRef = convert(varchar(30),date,101) + '|' + tractorId +
                   006     '|' + driverId
                   007     update driversEntirelyWithinCalifornia set crossRef = convert(varchar(30),date,101)
                   008     + '|' + driverId

                   Figure 14: crossRef field definition from Page 4 of Exhibit J2 (emphasis added).



             92.          Still further on the definition changes again to be StartTime and DriverID, swapping

 StartTime for Date and removing TractorID. An example of this can be seen on lines 004 and 005 of

 Figure 15.


                   Line
                           Source Code
                    No.
                   001     select * from sleeper where crossRef = '01/05/2017|021nd'
                   002
                   003     -- this is just to preserve the continuity...
                   004     update drivers set crossRef = convert(varchar(30),starttime,101) + '|' + driverId
                   005     where crossRef is null
                   006
                   007     -- ================================================================
                   008     -- This is where we attribute the disperate, discrete elements
                   009     -- to the various categories so that we can determine when
                   010     -- and where the time is taking place.
                   011     -- ================================================================
                   012     -- create a master crossWalk for sleeper
                   013     -- create a master crossWalk for sleeper
                   014     -- create a master crossWalk for sleeper
                   015     -- create a master crossWalk for sleeper
                   016     -- drop table sleeper
                   017     select distinct driverId, crossRef into sleeper from drivers where descript =
                   018     'sleeper'

                   Figure 15: crossRef field from Page 5 of Exhibit J2 (emphasis added).



             93.          The crossRef field is relied upon by Mr. Woolfson to link the sleeper berth segments to

 drivers and to segments spent in California. How this field is calculated and the specific data it relies

 upon is critical to ensuring the code operates properly and that the results of the code are accurate and

 reliable.

             94.          It is my opinion that this inconsistency must either have gone unnoticed by Mr. Woolfson

 or this is not the actual code that he relied upon for his analysis, assuming that, had he been aware of the

 error, he would have corrected it. The crossRef code as provided by Mr. Woolfson in Exhibit J will fail



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 to link the events correctly. This will not produce an error message, but the code will not function

 properly and the results will be flawed. This leaves us in one of two situations: either this is not the code

 Mr. Woolfson relied upon for his analysis or his code contained critical flaws.

         95.          Also of note, in Figure 15 on Line 001 the field “crossRef” is associated with the

 “sleeper” table. The “sleeper” table is not created until later in the code (lines 017 and 018 in Figure 15),

 which is an additional example of “Object Use Prior to Declaration.” Not only would this code fail

 because the crossRef values are inconsistent, but it would also fail because the “sleeper” table has not yet

 been created.

                                             Inconsistent Object Naming

         96.          The names assigned to objects in SQL are important. While SQL is not case sensitive,

 meaning that variations in upper and lower case are not important, the specific names are important. For

 example, “Drivers”, “DRIVERS”, and “drivers” all refer to the same object, but “drive”, “driver”, and

 “drivers” all refer to different objects.

         97.          The code provided by Mr. Woolfson in Exhibit J1 vacillates between different names for

 what appear to be the same tables. For example, in Figure 16 on Line 001 a new table is created and

 assigned the name “driver”. A few lines further on, on Line 007, it is referred to as “drivers”. While this

 is relatively easy for a human reader to interpret and conclude that they likely reference the same object,

 the computer will not make such an intuitive leap.

               Line
                       Source Code
                No.
               001     select * into driver from data where [column 4] in
               002     ('driving','onDuty','offDuty','sleeper')
               003     select * into hours from data where [column 2] like '%/%'
               004     select * into trips from data where [column 5] like '%/%'
               005     -- now since we have done this, let's figure
               006     -- out what we need to do next.
               007     delete from data where newId in (select newId from drivers)
               008     delete from data where newId in (select newId from hours)
               009     delete from data where newId in (select newId from trips)

               Figure 16: crossRef field definition from Page 1 of Exhibit J2 (emphasis added).

         98.          It is my opinion that this inconsistency could not have gone unnoticed by Mr. Woolfson

 as it would cause the code to fail with an error. Therefore, Mr. Woolfson must have used a corrected



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 version of the code for his analysis. This leaves me with a single conclusion: this is not the code Mr.

 Woolfson relied upon for his analysis as represented by him in his report.


 VII.    Overall Conclusion

         99.      I make the following conclusions in relation to the analysis performed by Mr. Woolfson:

                  a) Mr. Woolfson’s analysis does not properly take into account the data produced and is

                     overly simplistic.

                  b) Mr. Woolfson ignored data, specifically GPS ping data, produced by defendant that

                     could have provided specific and reliable answers to the questions he was asked to

                     answer.

                  c) It is not possible to conclude with certainty based on the data relied upon by Mr.

                     Woolfson that simply because the tractor moved after an individual went to ‘sleeper’

                     status, that the individual was in the sleeper berth while the tractor was moving, or

                     that the tractor was moving for the entirety of the sleeper berth segment, or for what

                     period of time the tractor was in California and was moving.

         100.     I make the following conclusions about Mr. Woolfson’s methodology and the source

 code provided:

                  a) Mr. Woolfson does not properly explain the methodology he undertook to reach his

                     conclusions.

                  b) Mr. Woolfson’s methodology for data handling is unnecessarily complex and prone to

                     error.

                  c) Replicating Mr. Woolfson’s analysis based on his report is a matter of guesswork and

                     speculation.




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 VIII. Signature

         101.     I provide these opinions with a reasonable degree of professional certainty, based on

 information available to me at this time, and I reserve the right to modify these opinions if more

 information is provided. I also reserve the right to provide additional expert opinions based on any new

 information disclosed in this matter and to augment my opinions based on further analysis of Mr.

 Woolfson’s code and database.

         102.     I declare under penalty of perjury that, to the best of my knowledge, information, and

 belief, the foregoing is true and correct.

                  Executed this 30th day of September 2019.




                                                           Charles Platt
                                                           Director, Structured Data Analytics
                                                           iDiscovery Solutions, Inc.




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                             EXHIBIT A

                        CV of Charles Platt




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                               CHARLIE PLATT
                               Expert Services Affiliate

                              SUMMARY

                              Mr. Charlie Platt, Director of the Data Analytics Practice for iDiscovery Solutions
                              (iDS) in Washington DC, has over 29 years’ experience working on data systems,
                              data analytics, digital forensics, cybersecurity strategic planning, incident
                              response, information systems development, infrastructure planning, database
                              design, eDiscovery, and project management. He has consulted on projects
                              ranging from large-scale forensics investigations to highly complex intellectual
                              property cases in the legal and eDiscovery industries. In addition, Mr. Platt has
                              developed applications and managed projects for a variety of Fortune 50
                              corporations and large government clients and has managed comprehensive,
3000 K Street NW, Suite 330   multifaceted collections, both in the U.S. and internationally.
Washington, DC 20007
                              Mr. Platt is a Certified Ethical Hacker (CEH), Certified Information Systems Security
703.489.7707
                              Professional (CISSP), Certified Information Systems Management Professional
cplatt@idsinc.com             (ISSMP), Certified Cloud Security Professional (CCSP), an EnCase Certified
                              Examiner (EnCE), a Microsoft Certified DBA (MCDBA), and holds certifications in
Profile on LinkedIn           C/C++, Infrastructure and Networking. He has a Certificate in Information Risk
                              Management from Harvard, an M.S. in Management of Secure Information
@iDiscoveryInc                Systems from George Mason University, and a B.S. in Computer Information
                              Systems. Prior to iDS, he was the owner and founder of Bitscope Consulting, a
idiscoverysolutions.com
                              Managing Consultant at LECG and manager of the DC Forensics Lab, and a Sr.
                              Consultant at FTI.




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CHARLIE PLATT




SELECT CONSULTING EXPERIENCE
  1. Led the onsite team investigating an alleged internal breach and compromise for one of the largest naval
     architecture firms in the US. Responded to FBI demands and allegations of breach. Worked directly with
     client to document corporate infrastructure and defenses, reviewed forensic evidence produced by the
     FBI, and acquired and reviewed additional evidence. I developed and tested theories for the incident and
     delivered an expert report documenting the breach and exposure for presentation to law enforcement. I
     presented our findings orally to corporate executive staff, including the CEO and CISO.
  2. Provided expert testimony for plaintiff in a McKesson Medical Records database systems and audit trail
     data case. The court had significant concerns about HIPAA and the expertise required to review medical
     database records. As a result of deposition and court testimony, the court ordered defendant to provide
     direct access to medical records systems for our expert review, as well as sanctions ordering defendant
     to pay a significant portion of the cost of the onsite review. Onsite at defendant’s IT offices I reviewed
     McKesson databases for missing or unproduced audit trail data, which resulted in an expert report and
     additional deposition testimony on the state of the McKesson records and audit trail data. I was also able
     to identify and produce additional audit trail data that was previously undisclosed.
  3. Assisted $200M government contractor with response to ransomware attack. Developed and delivered
     expert report and reconstituted corporate IT infrastructure post-incident. Successfully recovered critical
     data and had systems up and running at pre-incident levels in under 72 hours.
  4. Testified for defendant in an expert role relating to McKesson Medical Records database systems and
     alleged data spoliation. Analyzed metadata and database processes to understand current state of
     medical records metadata. Testified in deposition and provided expert opinions related to the metadata.
     Ultimately spoliation charges were dropped and client was found innocent of data destruction.
  5. Authored report and ran incident response to remote desktop breach and instance of ransomware at a
     government contractor. Ran triage and immediate response, planned short term objectives and
     managed the team that analyzed the incident and authored the final report.
  6. Co-authored report on cyber breach of public utility and provided technical knowledge and analysis that
     was key in determining no need to disclose. Was able to show that breach identified did not disclose PII.
     Report clearly explained that, though the risk was present, there was no evidence proving the
     vulnerability had been exploited to a level that would have disclosed PII, and there was evidence
     indicating PII had not been disclosed.
  7. Managed structured data discovery and putative collective analysis for large financial firm facing class
     action litigation. Assisted counsel with identification and production of putative collective information,
     analysis of PC members to determine dis-similar situated members, and consulted on method and format
     of production from large structured data systems.
  8. Managed structured data discovery project for Fortune 10 Company. Discovery encompassed multiple
     structured data sources and 100s of millions of records, majority of which were in non-standard
     proprietary formats. Reviewed infrastructure of client and identified of relevant systems for preservation.
     Assisted counsel with technical aspects of meet and confers and with written response to opposing
     counsel and experts requests as they related to technology and structured data.
  9. Authored report to the ITC on cyber breach and inadvertent exposure of CBI to the Internet. Managed
     incident response process and authored final reports for submission to specific ITC courts involved. Was

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CHARLIE PLATT




     instrumental in taking a serious and potentially sanctionable security breach and providing solid analysis
     and reporting on the actual scope of the breach, resulting in no adverse consequences.
 10. Led multi-disciplinary, international teams in responding to court order for forensic investigation into
     counterfeiting allegations. Forensic team onsite in Shenzhen, China performed onsite acquisition,
     processing and in country review of dozens of laptops, email and file servers and personal devices.
     Domestically, the Washington, DC and New York City teams performed structured data analytics against
     SQL Server databases to determine sales volumes and post-lawsuit alteration of sales records.
     Washington DC team wrote expert report and assisted with subsequent written testimony. Ultimately
     led to successful spoliation charges and sanctions.
 11. Managed project schedule, budget and team for multiple country eDiscovery project. Reviewed over 500
     backup tapes to be included in response, restoring and processing over 150. Processed over 6TB of data
     and analyzed content and extracted archived email for 50 relevant custodians.
 12. For large litigation project, developed quality control application to review SQL data for consistency and
     accuracy. Designed SQL database for analysis of over 1billion records encompassing 1TB.
 13. Managed project schedule, budget and team surrounding rebuilding a corrupt email archive for a large
     financial institution. Designed and developed the application used to analyze email data from the optical
     platters and load into SQL Server. Restored over 700 platters and processed over 4TB of email. Analyzed
     content and rebuilt SQL Server database for archive.
 14. For large litigation project, developed methodology and architecture for analyzing 750GBs of mainframe
     reports and developed application to parse for bulk load to SQL Server.
 15. Designed and developed application to process files and email for eDiscovery at a large company.
     Functionality included deduplication of email and electronic files, full-text indexing, keyword searching
     and exporting of relevant files.
 16. Developed utility to analyze and export email from Lotus Notes NSF files into SQL Server and HTML for
     review by attorneys. Multi-Threaded application monitored processing queue in SQL Server for NSF files
     to convert, then loaded and exported email into HTML files and metadata into SQL Tables.
 17. Created a Collection and Digitization Reporting System (CDRS) for the Smithsonian Institution. CDRS
     interacts with multiple databases to capture and report on collections and digitization data. CDRS is user
     configurable, with the system managers able to add and change the data being requested from the units
     on a macro- and micro-level.
 18. Member of development team for the CARES-Medical System for the National Zoo's veterinary hospital.
     The project was initially tasked with evaluating and recommending a course of action for systems
     modernization of National Zoo's Medical Records System. Our project team deemed the existing
     architecture too high risk to continue operating, so a replacement was designed and developed to
     provide similar functionality while residing on a modern architecture with enhanced availability,
     reliability and disaster recovery capabilities. The system was released on time and under-budget to the
     accolades of the National Zoo's veterinary staff and administration.
 19. Integrated third-party online booking platform for large travel company. Integration included SSO and
     Cryptography API. Developed security protocol and algorithm for secure handshake and single sign-on
     between both products.



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CHARLIE PLATT




  20. Created a Personnel Security Case Management System (PSCMS) for the Smithsonian Institution. The
      PSCMS receives electronic delivery of background investigation results from OPM, as well as providing a
      case management framework for OPS to manage, work and review cases. The final system had a
      significant impact on the processing of background investigations.
TESTIFYING EXPERIENCE
  1. Digital Forensics Analysis of USB Device Use, deposition testimony, Digital Assurance Certification, LLC v.
     Alex Pendolino, Jr., US District Court, Middle District of Florida, Case No. 6:17-cv-72-Orl-31TBS, December
     2018.
  2. Rebuttal to Forensic Investigation Protocols and Methods, declaration, Digital Assurance Certification, LLC
     v. Alex Pendolino, Jr., US District Court, Middle District of Florida, Case No. 6:17-cv-72-Orl-31TBS, November
     2018.
  3. Analysis of Expert Report and Expert’s Methodology, declaration, DHI Group, Dice, Rigzone.com v. David
     Kent, Oilpro.com, US District Court, Southern District of Texas, Case No. 4:16-cv-01670, November 2018.
  4. Digital Forensics Analysis on USB Device Use, expert report, Digital Assurance Certification, LLC v. Alex
     Pendolino, Jr., US District Court, Middle District of Florida, Case No. 6:17-cv-72-Orl-31TBS, November 2018.
  5. Incident Response Investigation / FBI Investigation, Expert Report, Confidential Client, April 2018.
  6. Structured Data Analysis / Medical Records, deposition testimony, Culpepper v. Wellstar Kennestone, State
     Court of Dekalb County, GA, Case No. 15A54645E7, January 2018.
  7. Forensic Analysis of Laptop, affidavit, Gondolier Properties, LLC et. al. v. Joellen Tilseth, Don Tilseth, et. al.,
     State Court of Lee County, FL, Case No. 16-CA-1206.
  8. PeopleSoft Database Forensics, declaration, Private Internal Investigation, November 2017.
  9. Structured Data Analysis / Medical Records, Expert Report, Culpepper v. Wellstar Kennestone, State Court
     of Dekalb County, GA, Case No. 15A54645E7, September 2017.
  10. Electronic Discovery and Forensics, declaration, Digital Assurance Certification, LLC v. Alex Pendolino, Jr., US
      District Court, Middle District of Florida, Case No. 6:17-cv-72-Orl-31TBS, September 2017.
  11. Structured Data Analysis / Medical Records, court hearing testimony, Culpepper v. Wellstar Kennestone,
      State Court of Dekalb County, GA, Case No. 15A54645E7, August 2017.
  12. Structured Data Analysis / Medical Records, deposition testimony, Culpepper v. Wellstar Kennestone, State
      Court of Dekalb County, GA, Case No. 15A54645E7, May 2017.
  13. Source Code Versioning System Forensics, declaration, Sotera Wireless, Inc. Debtor, US Bankruptcy Court,
      Southern District of California, Case No. 16-05968-LT11, January 2017.

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  14. USB Device Forensic Analysis, declaration, Digital Assurance Certification, LLC v. Alex Pendolino, Jr., US
      District Court, Middle District of Florida, Case No. 6:17-cv-72-Orl-31TBS, January 2017.
  15. Structured Data Analysis / Medical Records, deposition testimony, Ruchotzke v. Methodist Medical Center,
      Circuit Court, Tenth Judicial Circuit, Peoria County, IL, Case No. 13-L-78, September 2016.
  16. Cybersecurity Breach Response / Ransomware, expert report, Government Contractor, Ransomware and
      Remote Desktop Breach, April 2016.
  17. Results of Cybersecurity / PII Exposure, expert report, Public Utility, July 2015.
  18. Collection and Processing of Email from Webmail Systems, declaration, Maddy et al v. General Electric
      Company, US District Court, District of New Jersey, Case No. 14-cv-00490-JEI-KMW, August 2015.
  19. Cost of Collecting and Processing of Email, declaration, Maddy et al v. General Electric Company, US District
      Court, District of New Jersey, Case No. 14-cv-00490-JEI-KMW, November 2015.
  20. Preservation of Structured Data, declaration, Maddy et al v. General Electric Company, US District Court,
      District of New Jersey, Case No. 14-cv-00490-JEI-KMW, December 2015.
  21. Preservation of Structured Data, deposition testimony, Maddy et al v. General Electric Company, US District
      Court, District of New Jersey, Case No. 14-cv-00490-JEI-KMW, December 2015.
  22. Cybersecurity Breach Response / CBI Exposure, expert reports, Multiple Related Cases, United States
      International Trade Commission, September 2014.


EDUCATION
  1. Certificate in Information Risk Management, Harvard University, 2019
  2. MS in Management of Secure Information Systems, George Mason University, 2013
  3. George Washington University
     • Introduction to Criminal Investigations, 2006
     • Introduction to Criminal Procedure, 2005
     • C/CC++ and Unix Systems Development, 2002
  4. BS in Computer Information Systems, Roanoke College, 1992
CERTIFICATIONS/TRAINING
  1.   Certified Information Systems Security Professional (CISSP)
  2.   Certified Information Systems Management Professional (ISSMP)
  3.   Certified Cloud Security Professional (CCSP)
  4.   Certified Ethical Hacker (CEH)
  5.   EnCase Certified Examiner (EnCE)
  6.   Microsoft Certified DBA (MCDBA)

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  7. A+ Certified
  8. Network+ Certified
  9. Microsoft Certified Professional (MCP)
  10. Principal Certified Lotus Professional (PCLP)
PUBLICATIONS
  1.  C. Platt, Java Mail Metadata Analysis, Digital Forensics Magazine (November, 2017)
  2.  C. Platt, Danger Lurking in the IT Shadows, “The Forensicators” blog for iDiscovery Solutions (June, 2017)
  3.  C. Platt, D. Regard, Turning Liabilities Into Assets, Metropolitan Corporate Counsel (May, 2017)
  4.  C. Platt, How to Protect Your Company from Ransomware Attacks, “The Ethical Hacker: Data, Disputes,
      Discovery, and More…” website contribution for Metropolitan Corporate Counsel (May, 2017)
  5. C. Platt, Great Employee or Insider Threat, “The Ethical Hacker: Data, Disputes, Discovery, and More…”
      column for Metropolitan Corporate Counsel (May, 2017)
  6. C. Platt, Technically Speaking, Cybersecurity Isn’t About Speaking Technically, “The Ethical Hacker: Data,
      Disputes, Discovery, and More…” column for Metropolitan Corporate Counsel (April, 2017)
  7. C. Platt, Leveraging IoT Data Isn’t a Budget Killer, “The Ethical Hacker: Data, Disputes, Discovery, and
      More…” column for Metropolitan Corporate Counsel (March, 2017)
  8. C. Platt, I Got 99 Problems, But No Data Ain’t One, “The Ethical Hacker: Data, Disputes, Discovery, and
      More…” column for Metropolitan Corporate Counsel (February, 2017)
  9. C. Platt, IoT Data: Objective, Consistent and Pervasive – Using Metadata to Build Compelling Narratives
      for Litigation, Metropolitan Corporate Counsel (December, 2016)
  10. C. Platt, B. Leatha, Ten Key Legal Considerations for Cloud Solutions, Metropolitan Corporate Counsel
      (November, 2016)
  11. C. Platt, A. D’Ambra, S. Sessler, Data Analytics: How Parties Are Using Tools Beyond TAR, Law360
      (November, 2016)
  12. C. Platt, Metadata Analysis in Email, Digital Forensics Magazine (May, 2016)
  13. C. Platt, D. Myers, Big Data Yields Big Results, Metropolitan Corporate Counsel (May, 2016)
  14. C. Platt, Data Breach & Incident Response, Metropolitan Corporate Counsel (February, 2016)
  15. D. Regard, C. Platt, A Brief Legal History of Time: Part Two of Two, Digital Discovery and E-Evidence (BNA,
      February, 2016).
  16. D. Regard, C. Platt, A Brief Legal History of Time: Part One of Two, Digital Discovery and E-Evidence (BNA,
      January, 2016).
  17. C. Platt, The Most Crucial Time During a Data Breach, BNA Bloomberg (January, 2016)
  18. C. Platt, B. Kim, Structured What? Leveraging structured data to build a better story, Metropolitan
      Corporate Counsel (November, 2015).
SELECT SPEAKING ENGAGEMENTS
  1. Metropolitan Corporate Counsel Webinar, “IoT & Disparate Data for Labor & Employment Cases”, May
     2017.
  2. The Executive Employer, “The Power of Your Electronic Data”, panelist, Phoenix, AZ, May 2017.
  3. Temple Law School, “A Lawyer’s Introduction to Computers”, January 2017.


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                                  #:1150



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  4. Today’s General Counsel Institute, Data Privacy and Cybersecurity Forum, “Outsourcing Big Data to the
      Cloud”, November 2016.
  5. Organization of Legal Professionals, Webinar, “IoT: Content is the New Context”, November 2016.
  6. The Masters Conference, Panel Moderator, “The Internet of Things Creates a Thousand Points of
      (Evidentiary) Light: Can you see it?”, Washington D.C., October 2016.
  7. Littler Mendelson, “eDiscovery, Forensics and the Rise of Google Docs”, October 2016.
  8. University of Pennsylvania Law School, “A Lawyer’s Introduction to Computers”, September 2016
  9. The Masters Conference, Panel Moderator, “The Internet of Things Creates a Thousand Points of
      (Evidentiary) Light: Can you see it?”, New York City, July 2016.
  10. Metropolitan Corporate Counsel Webinar, “The Internet of Things: How IoT Data and Relational Analytics
      Can Make or Break Your Case”, June 2016.
  11. The Masters Conference, “The Internet of Things Creates a Thousand Points of (Evidentiary) Light: Can
      you see it?”, Chicago, May 2016.
  12. Pennsylvania Bar Association, “Practicing Law in the Cloud”, January 2016 – multiple dates and locations.
  13. American University Law School, “A Lawyer’s Introduction to Computers”, January 2016.
  14. The Knowledge Group Webinar, “Structured Data Discovery”, December 2015.
  15. Today’s General Counsel Institute, Data Privacy and Cyber Security Forum, “Breach Response: What Do I
      Do Now?”, November 2015.
  16. Temple Law School, “A Lawyer’s Introduction to Computers”, January 2015.
  17. American University Law School, “A Lawyer’s Introduction to Computers”, January 2015.
  18. Browne Academy, “Securing the Academy, IT Security Plan for Browne Academy", June 2013.
  19. Georgetown Law School, “Introduction to Computer Forensics", April 2006.
  20. Merrill Lynch CLE, “Digital Discovery and Forensics”, May 2006.
ORGANIZATIONS
  1. Chair of the Cyber Security committee for Board of Trustees, Browne Academy
  2. Phi Kappa Phi Honor Society




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                             EXHIBIT B

             Data Source Materials Relied Upon




                                 Ex. E, p. 481
                         Case 2:18-cv-08751-MCS-FFM Document 72-7 Filed 11/22/19 Page 44 of 56 Page ID
                                                          #:1152
Line
No.    Filename                                                                 MD5 Hash                           Size (bytes)
001    ..\CRST_D000001-000163 (20180608)\CRST_D000001.pdf                       54160515DBED1ECD7C9F872EBDDB2F0C      316,621
002    ..\CRST_D000001-000163 (20180608)\CRST_D000002.pdf                       6CFA0CD33D308A2009A549AAB35705C6    1,840,055
003    ..\CRST_D000001-000163 (20180608)\CRST_D000010.pdf                       5F7E96684C1C787218414A89700A1865      871,770
004    ..\CRST_D000001-000163 (20180608)\CRST_D000031.xlsx                      C5627677FCB2247F524C9DA46C20C651        28,626
005    ..\CRST_D000001-000163 (20180608)\CRST_D000032.pdf                       815A0611274D828E9E7362D6492A71B3    1,831,144
006    ..\CRST_D000001-000163 (20180608)\CRST_D000057.pdf                       D12DCDB5C2FCCAE1871895F0DA01723B    1,656,101
007    ..\CRST_D000001-000163 (20180608)\CRST_D000078.pdf                       D6EB1B970D2B1278F31D690B90F2F7E0    4,158,830
008    ..\CRST_D000001-000163 (20180608)\CRST_D000156.pdf                       9372C1EE393CF3B55577DA0069C4FF8A      344,878
009    ..\CRST_D000001-000163 (20180608)\CRST_D000163.xlsx                      8E8D1C1F79759FF1ABC63029195E3ED3        47,582
010    ..\CRST_D000164-010813 (20190108)\CRST_D000164.pdf                       1F8136E5BD115F5DC128989FAAE04E70   29,083,869
011    ..\CRST_D000164-010813 (20190108)\CRST_D000415.pdf                       442941FE60BA1A7FA6FD88AE3CB42340   67,460,551
012    ..\CRST_D000164-010813 (20190108)\CRST_D000574.pdf                       F18805C31CC4E679FFDD9A266F2D4EE7    6,938,629
013    ..\CRST_D000164-010813 (20190108)\CRST_D000626.pdf                       9FF2E2254AD8511E6BC694DC1B1E5212      864,112
014    ..\CRST_D000164-010813 (20190108)\CRST_D000627.xlsx                      4E30DD12C5FF625DDA401FA963EC1BAB      241,037
015    ..\CRST_D000164-010813 (20190108)\CRST_D000628.pdf                       B8F2F9607A59CACE24EBE5B1CAB2866D    6,222,364
016    ..\CRST_D000164-010813 (20190108)\CRST_D000651.pdf                       A1D3547F90AB0768BE4C02901BB847A8        49,922
017    ..\CRST_D000164-010813 (20190108)\CRST_D000652.pdf                       491811E2B8AC2FEBA289449E32772A35        28,036
018    ..\CRST_D000164-010813 (20190108)\CRST_D000653.pdf                       57A0AF110222571ED89E7FF2B769B721      103,223
019    ..\CRST_D000164-010813 (20190108)\CRST_D000655.pdf                       731D51EF1F9B70DE732CB53BF8E07589        46,256
020    ..\CRST_D000164-010813 (20190108)\CRST_D000656.pdf                       62024D108572BA1B3F0CCC06B7D55E4B        51,722
021    ..\CRST_D000164-010813 (20190108)\CRST_D000657.pdf                       6C4FA304385CBE3F8631FFEB23E21C48      124,824
022    ..\CRST_D000164-010813 (20190108)\CRST_D000659.pdf                       C280176C13C146939718DB2B81E9ED4D        93,957
023    ..\CRST_D000164-010813 (20190108)\CRST_D000661.pdf                       994AE90FA5AC822A9F8512467023CEAD      131,491
024    ..\CRST_D000164-010813 (20190108)\CRST_D000663.pdf                       D99844E13BF617023E6ED2C90D211D38        43,501
025    ..\CRST_D000164-010813 (20190108)\CRST_D000664.pdf                       015AFC4302EC4EEB2D5095EFB375645F      170,695
026    ..\CRST_D000164-010813 (20190108)\CRST_D000667.pdf                       7670C19DE0E274BF5646C819FCB69898      165,122
027    ..\CRST_D000164-010813 (20190108)\CRST_D000670.pdf                       19106470332EFF486CB730C35957EE6F        38,058
028    ..\CRST_D000164-010813 (20190108)\CRST_D000671.pdf                       57D8ADA834E77C7C70A27FBE281253E1        25,794
029    ..\CRST_D000164-010813 (20190108)\CRST_D000672.pdf                       F6D545371B2FDDB44239365F5749D95D        55,968
030    ..\CRST_D000164-010813 (20190108)\CRST_D000673.pdf                       554B91856F9DDF11550E44215BBC6CBD        41,982
031    ..\CRST_D000164-010813 (20190108)\CRST_D000674.pdf                       E71E11240DB4187E37290723CF95D502        46,978
032    ..\CRST_D000164-010813 (20190108)\CRST_D000675.pdf                       B3EF3AF5817CC8DDD65F143BB21E41D4        33,855
033    ..\CRST_D000164-010813 (20190108)\CRST_D000676.pdf                       D6B6E2243318A842BD186EDC843A0AFA        36,055
034    ..\CRST_D000164-010813 (20190108)\CRST_D000677.pdf                       ACADB0D5236C44ADEDDA52406FE81048        49,264
035    ..\CRST_D000164-010813 (20190108)\CRST_D000678.pdf                       EC05A18FCDED5D5A27F9451A837EFC44        32,618
036    ..\CRST_D000164-010813 (20190108)\CRST_D000679.pdf                       5097CFA6B283AC653AF3B77F340C8BD3        35,313
037    ..\CRST_D000164-010813 (20190108)\CRST_D000680.pdf                       8ADD2B8B867FD65D39C346596D121384        33,833
038    ..\CRST_D000164-010813 (20190108)\CRST_D000681.pdf                       CDE1E35A7AD3EB8112A5BB8C3A93F406        29,752
039    ..\CRST_D000164-010813 (20190108)\CRST_D000682.pdf                       16AEF6E40AE44C5FB6C7E0481456813B        35,254
040    ..\CRST_D000164-010813 (20190108)\CRST_D000683.pdf                       ED55EDE6E9E0A4C5EFD77AE885459BAC        47,582
041    ..\CRST_D000164-010813 (20190108)\CRST_D000684.pdf                       7B70E9F8CA1D45833602D252029C387A        56,693
042    ..\CRST_D000164-010813 (20190108)\CRST_D000686.pdf                       4D7C7300C302ADB1602BFB0A654D544E        68,154
043    ..\CRST_D000164-010813 (20190108)\CRST_D000687.pdf                       A5212074036430B21B88CEBF85D4FDFA        47,643
044    ..\CRST_D000164-010813 (20190108)\CRST_D000689.pdf                       BC015FAE4BD285581C5A365788C01086        26,174
045    ..\CRST_D000164-010813 (20190108)\CRST_D000690.pdf                       BF88D0222C8D453BFF74BCDD9DDCDE65        42,578
046    ..\CRST_D000164-010813 (20190108)\CRST_D000691.pdf                       0819668DD597CD8F45C50D5594A80C56        74,985
047    ..\CRST_D000164-010813 (20190108)\CRST_D000693.pdf                       9721F92E86C2C27966CC62FC91FB7532        36,968
048    ..\CRST_D000164-010813 (20190108)\CRST_D000694.pdf                       D6E6454D2D81995D37C0E31299909EC7      109,531




                                                             Ex. E, p. 482
                        Case 2:18-cv-08751-MCS-FFM Document 72-7 Filed 11/22/19 Page 45 of 56 Page ID
                                                         #:1153
Line
No.    Filename                                                                           MD5 Hash                            Size (bytes)
049    ..\CRST_D000164-010813 (20190108)\CRST_D000696.pdf                                 58288D3D7EB6FD29BE7AA4429E4A6947         42,137
050    ..\CRST_D000164-010813 (20190108)\CRST_D000697.pdf                                 52DBC5F79B29F6E3A32EAAD962B4F55B         43,654
051    ..\CRST_D000164-010813 (20190108)\CRST_D000698.pdf                                 E9C2FC27BB4F389CF2A20AF58597F4B5         15,569
052    ..\CRST_D000164-010813 (20190108)\CRST_D000699.pdf                                 A39F870EDF1C530C814D7F13B0B61EF8         38,295
053    ..\CRST_D000164-010813 (20190108)\CRST_D000700.pdf                                 0D571935D57FE1E7E2A636E460E28218       173,499
054    ..\CRST_D000164-010813 (20190108)\CRST_D000706.pdf                                 20433EBDC26D989CFFEAD38B3419ADDB       126,170
055    ..\CRST_D000164-010813 (20190108)\CRST_D000710.pdf                                 A6EDAB57B33CD2141C22DB675EF31D29         91,557
056    ..\CRST_D000164-010813 (20190108)\CRST_D000713.pdf                                 B0C008D4B98E9B34E10ACF6EA5DA68EF         47,798
057    ..\CRST_D000164-010813 (20190108)\CRST_D000714.pdf                                 8BF72632364BFF393A2E3E3ED261E6B0     8,915,071
058    ..\CRST_D000164-010813 (20190108)\CRST_D005364.pdf                                 FC2D1C408E6379C13E3ED94A30E92A32     1,303,822
059    ..\CRST_D000164-010813 (20190108)\CRST_D006122.pdf                                 99DB3C2A5F61C0DF76BB2E49F7403F00   144,435,328
060    ..\CRST_D000164-010813 (20190108)\CRST_D007954.pdf                                 6656B567CF7428EFEE010E042938D44E    22,122,678
061    ..\CRST_D000164-010813 (20190108)\CRST_D008259.pdf                                 496B2466CB277888C53F0BDB6F8DAE87    83,315,985
062    ..\CRST_D000164-010813 (20190108)\CRST_D008865.pdf                                 6873CDB03FF633AC4B4F8A0717C26695   135,010,801
063    ..\CRST_D000164-010813 (20190108)\Thumbs.db                                        A92F53148F9F420C710BB10329CF14CE         18,432
064    ..\CRST_D010814-010937 (20190129)\CRST_D010814.pdf                                 8314F1B40901691602DC512545A3038F    21,076,375
065    ..\CRST_D010814-010937 (20190129)\CRST_D010843.pdf                                 4C1BEF13CD6F7748E6BD267582B40677    16,762,236
066    ..\CRST_D010814-010937 (20190129)\CRST_D010869.pdf                                 2681861D3D3546170CD7A787BB497D9B     2,879,536
067    ..\CRST_D010814-010937 (20190129)\CRST_D010888.pdf                                 94E3D2FB2AF65E5C5EF29DE376BD4C02     4,436,291
068    ..\CRST_D010814-010937 (20190129)\CRST_D010912.pdf                                 597931072A15D0863C2F100BAC1048AC     4,132,246
069    ..\CRST_D010814-010937 (20190129)\CRST_D010934.pdf                                 E6FE7866F6D9BB095D9F5ECE74DC70FD       698,552
070    ..\CRST_D010938-010938 (20190320)\CRST_D010938_CONFIDENTIAL.xlsx                   4C82C5AE33C61CDE53375614BCD781C8       530,218
071    ..\CRST_D010939-014160 (20190408)\CRST_D010939_CONFIDENTIAL.xlsx                   9FACF78FAA5C7D336A4516D2795C35A6         22,777
072    ..\CRST_D010939-014160 (20190408)\CRST_D010940_CONFIDENTIAL.xlsx                   2F539E36298AB7F856C5FAA2C3158E29         26,518
073    ..\CRST_D010939-014160 (20190408)\CRST_D010941.pdf                                 B4FFCAC24D89B3FA2C06EDCF25FA9F02       537,707
074    ..\CRST_D010939-014160 (20190408)\CRST_D010950.pdf                                 ECF30ED0DDAD774D617D8EE128565318     1,688,942
075    ..\CRST_D010939-014160 (20190408)\CRST_D010983.pdf                                 D7E892B19D7BD2D3242DFFC212584B6B       445,555
076    ..\CRST_D010939-014160 (20190408)\CRST_D010993.pdf                                 792735383C26EBEEBF483FB786BBA7A2       699,530
077    ..\CRST_D010939-014160 (20190408)\CRST_D011005.pdf                                 25576D049F9551D2CB5E93D537525825       217,348
078    ..\CRST_D010939-014160 (20190408)\CRST_D011008_CONFIDENTIAL.xlsx                   DB4F01E132177F80FE6EB9248EC4C2B0         18,317
079    ..\CRST_D010939-014160 (20190408)\CRST_D011009.pdf                                 5F820E7F8E58E1F9BE3A609176285177     1,313,759
080    ..\CRST_D010939-014160 (20190408)\CRST_D011035_CONFIDENTIAL.xlsx                   ACF4DEB0F9A634BC5AB7B35304395195         14,450
081    ..\CRST_D010939-014160 (20190408)\CRST_D011036.pdf                                 F54F3FA69FAD8B0965DA26111A20A8B5     1,682,938
082    ..\CRST_D010939-014160 (20190408)\CRST_D011058_CONFIDENTIAL.xlsx                   247BB8B5ACDDA1E113D79E4F188B93F2         32,669
083    ..\CRST_D010939-014160 (20190408)\CRST_D011059.pdf                                 D964E45FB174E55B77E93700DAF266B5     3,197,688
084    ..\CRST_D010939-014160 (20190408)\CRST_D011119.pdf                                 82B689463FB48C9755500C5739A5F09C       332,682
085    ..\CRST_D010939-014160 (20190408)\CRST_D011126_CONFIDENTIAL.xlsx                   DF4881350713A2857CEA8EED5F6F5023         42,481
086    ..\CRST_D010939-014160 (20190408)\CRST_D011127.pdf                                 F85F0FD9B733669F96665A017E78BE53       656,878
087    ..\CRST_D010939-014160 (20190408)\CRST_D011135.pdf                                 3633E7B179D90A6E47713205B01C45CE       354,903
088    ..\CRST_D010939-014160 (20190408)\CRST_D011142.pdf                                 922259E3353E761E10F67DDB908960C2       246,511
089    ..\CRST_D010939-014160 (20190408)\CRST_D011148_CONFIDENTIAL.xlsx                   319254FB1458CE21196C093ED0B8D7D6         16,172
090    ..\CRST_D010939-014160 (20190408)\CRST_D011149.pdf                                 C40C82861D7D36262EAAA6AC9CFE5A56       336,049
091    ..\CRST_D010939-014160 (20190408)\CRST_D011155_CONFIDENTIAL.xlsx                   4631D234382424A2ED0BB79CF8EDF2AC         39,002
092    ..\CRST_D010939-014160 (20190408)\CRST_D011156.pdf                                 1F250D37104BD448FAC22840BBDF8E3E     4,002,769
093    ..\CRST_D010939-014160 (20190408)\CRST_D011231.pdf                                 E289C78BBD8060949CE7F999FB111E8E       593,646
094    ..\CRST_D010939-014160 (20190408)\CRST_D011241_CONFIDENTIAL.xlsx                   5E8977F6D03314A7940D1A4522B6335C         51,096
095    ..\CRST_D010939-014160 (20190408)\CRST_D011242_CONFIDENTIAL.xlsx                   6C297B28F3E3ADAAD2A7769478DB26C0         17,576
096    ..\CRST_D010939-014160 (20190408)\CRST_D011243.pdf                                 CE4A152D4A1E012AF26E259AEFC59EA9       141,340




                                                                          Ex. E, p. 483
                        Case 2:18-cv-08751-MCS-FFM Document 72-7 Filed 11/22/19 Page 46 of 56 Page ID
                                                         #:1154
Line
No.    Filename                                                                           MD5 Hash                           Size (bytes)
097    ..\CRST_D010939-014160 (20190408)\CRST_D011245.pdf                                 90AF3E0ABDB5682580C24E3459B967A4    1,020,644
098    ..\CRST_D010939-014160 (20190408)\CRST_D011265.pdf                                 DAEA22BD14A0828B12CA35C0A4806B07      530,273
099    ..\CRST_D010939-014160 (20190408)\CRST_D011276_CONFIDENTIAL.xlsx                   84A3C4A10AEFB636F22A720D92B3FA2C        13,035
100    ..\CRST_D010939-014160 (20190408)\CRST_D011277.pdf                                 2B229E745AD54170FB02160E8EDEF5AD      258,064
101    ..\CRST_D010939-014160 (20190408)\CRST_D011281_CONFIDENTIAL.xlsx                   85B539C3382D0CC798259F3AD9F3B116        20,135
102    ..\CRST_D010939-014160 (20190408)\CRST_D011282.pdf                                 32F20333E5B489FDA90269A56325AB7A    1,291,175
103    ..\CRST_D010939-014160 (20190408)\CRST_D011307.pdf                                 21BF017375E89F50B44729F38F2D2168      493,864
104    ..\CRST_D010939-014160 (20190408)\CRST_D011316_CONFIDENTIAL.xlsx                   58C706B7F3903B7511ACF7874C137D2C        26,635
105    ..\CRST_D010939-014160 (20190408)\CRST_D011317.pdf                                 36FB8786ADEBD3BD3E61BAF45BA20163    1,303,086
106    ..\CRST_D010939-014160 (20190408)\CRST_D011325_CONFIDENTIAL.xlsx                   43572A9EB4DDF4BB9158057AB8629847        35,304
107    ..\CRST_D010939-014160 (20190408)\CRST_D011326.pdf                                 091D0852C11ABD98CE638E2CB36188C8    3,212,045
108    ..\CRST_D010939-014160 (20190408)\CRST_D011386.pdf                                 416E157950598B9A81D467912B152067      203,552
109    ..\CRST_D010939-014160 (20190408)\CRST_D011393_CONFIDENTIAL.xlsx                   30D8E6BEE3228F6D76D9DFD5D247088D        51,697
110    ..\CRST_D010939-014160 (20190408)\CRST_D011394_CONFIDENTIAL.xlsx                   33E1EF90435E6C28989C821BCCAA0B03      112,158
111    ..\CRST_D010939-014160 (20190408)\CRST_D011395.pdf                                 F4B5A599C73303DB0F6269691A9E73B5    2,366,183
112    ..\CRST_D010939-014160 (20190408)\CRST_D011423_CONFIDENTIAL.xlsx                   302AD5B22CB680AE6138C389C7CF193B        61,336
113    ..\CRST_D010939-014160 (20190408)\CRST_D011424.pdf                                 0156C09E65D4E03CDD6BF2C25329AC2C    7,947,124
114    ..\CRST_D010939-014160 (20190408)\CRST_D011571.pdf                                 5853779FC8D21A4DCDA61627EFDBB62E      733,438
115    ..\CRST_D010939-014160 (20190408)\CRST_D011582.pdf                                 505D0C5E3988FB16B2A3A0D8B18B5FAB    2,097,696
116    ..\CRST_D010939-014160 (20190408)\CRST_D011606_CONFIDENTIAL.xlsx                   F7C6D4AEF4A1F9FC7E596AD811F123AA        33,681
117    ..\CRST_D010939-014160 (20190408)\CRST_D011607.pdf                                 4C1659E0B27D2AADF6D0555C52C0D6BB    3,653,603
118    ..\CRST_D010939-014160 (20190408)\CRST_D011675.pdf                                 7D352AE57BAAF7EECCF81D6EF268AF81      552,983
119    ..\CRST_D010939-014160 (20190408)\CRST_D011685_CONFIDENTIAL.xlsx                   372C36A3603460CA044D48AADA14D593        55,863
120    ..\CRST_D010939-014160 (20190408)\CRST_D011686.pdf                                 733BFD4D41362E8EDBB7AF4A33A00F94    1,765,255
121    ..\CRST_D010939-014160 (20190408)\CRST_D011709_CONFIDENTIAL.xlsx                   E0D3A65D4E5459E6A71148D52B7803DA        39,065
122    ..\CRST_D010939-014160 (20190408)\CRST_D011710.pdf                                 0B154150B5E79A631CECB527B8D2B399    3,632,218
123    ..\CRST_D010939-014160 (20190408)\CRST_D011780.pdf                                 73160DB2C1BEB9186EEBFBF6615906FD      532,372
124    ..\CRST_D010939-014160 (20190408)\CRST_D011793_CONFIDENTIAL.xlsx                   44F08410F6984384EF063ED2DB0654D3        47,286
125    ..\CRST_D010939-014160 (20190408)\CRST_D011794.pdf                                 71C2E7D3B0D38C7213173552C44328B3    2,604,880
126    ..\CRST_D010939-014160 (20190408)\CRST_D011835_CONFIDENTIAL.xlsx                   22FA5F4863233CB94EFB6B8F0D6B2FCB      135,205
127    ..\CRST_D010939-014160 (20190408)\CRST_D011836.pdf                                 306A7A70CECBE91BC33B480D4185314D   23,544,163
128    ..\CRST_D010939-014160 (20190408)\CRST_D012264.pdf                                 20AE578C879AF85EE9AB25E01974E3F3      611,176
129    ..\CRST_D010939-014160 (20190408)\CRST_D012278_CONFIDENTIAL.xlsx                   355A91FF115BCA29C68F2B995917C6D8      280,315
130    ..\CRST_D010939-014160 (20190408)\CRST_D012279.pdf                                 F9FAD80C4092F89BC3A4F7D246D551AF   11,622,422
131    ..\CRST_D010939-014160 (20190408)\CRST_D012494.pdf                                 19FA58B071D166DC164E6C222C0108CF      811,950
132    ..\CRST_D010939-014160 (20190408)\CRST_D012508_CONFIDENTIAL.xlsx                   283FC09C0B9B233483B602D31F4E6213        79,717
133    ..\CRST_D010939-014160 (20190408)\CRST_D012509.pdf                                 4154575256A86BCCA9395A99F4D3E56E      286,954
134    ..\CRST_D010939-014160 (20190408)\CRST_D012517_CONFIDENTIAL.xlsx                   44F81486727249AF43C8147BC34A642C      162,662
135    ..\CRST_D010939-014160 (20190408)\CRST_D012518.pdf                                 320C9F85619C4E9A00A5B2C304C059F8    1,340,730
136    ..\CRST_D010939-014160 (20190408)\CRST_D012542.pdf                                 2C02C49EC8205CE103B56743515DC00C      440,299
137    ..\CRST_D010939-014160 (20190408)\CRST_D012555_CONFIDENTIAL.xlsx                   E841D80B0ED32BFC8EB41955D04A2C63        54,731
138    ..\CRST_D010939-014160 (20190408)\CRST_D012556.pdf                                 97F6DF3979301046C0D49D48BEA6176D    7,282,462
139    ..\CRST_D010939-014160 (20190408)\CRST_D012689_CONFIDENTIAL.xlsx                   A10059691CFD44593383E912E594B26C      107,273
140    ..\CRST_D010939-014160 (20190408)\CRST_D012690.pdf                                 970F6EED2EFBA3F7FF6AB0B3E150177A    1,085,746
141    ..\CRST_D010939-014160 (20190408)\CRST_D012705_CONFIDENTIAL.xlsx                   04EACD06D6BEBCAEB2801E221A345FF7        62,029
142    ..\CRST_D010939-014160 (20190408)\CRST_D012706.pdf                                 C506A83777B5F4A4C4E0FFA2045BD405    7,621,427
143    ..\CRST_D010939-014160 (20190408)\CRST_D012847.pdf                                 1626ED5C56AC30BF3D2299884BDEB8C4      579,537
144    ..\CRST_D010939-014160 (20190408)\CRST_D012858_CONFIDENTIAL.xlsx                   3FD6D3BCCB69C4381B09F9AE4DF944A4      106,375




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                                                         #:1155
Line
No.    Filename                                                                           MD5 Hash                           Size (bytes)
145    ..\CRST_D010939-014160 (20190408)\CRST_D012859.pdf                                 58F57FFAE1609AA4DCCADF50E458C8A1      223,982
146    ..\CRST_D010939-014160 (20190408)\CRST_D012862_CONFIDENTIAL.xlsx                   52367F398A413702C6643DEEA55AE9D3        26,648
147    ..\CRST_D010939-014160 (20190408)\CRST_D012863.pdf                                 D9FBA0BB52C3ED0192A999C93AB6C87F    1,715,054
148    ..\CRST_D010939-014160 (20190408)\CRST_D012895.pdf                                 847537BA63E93F490F96FA76C94D4F03      530,304
149    ..\CRST_D010939-014160 (20190408)\CRST_D012902_CONFIDENTIAL.xlsx                   21407631F62E5670FBCA8CB9BE1DFADB        37,979
150    ..\CRST_D010939-014160 (20190408)\CRST_D012903.pdf                                 C64CD8999C14056F348941BF60BB5EC9    2,717,347
151    ..\CRST_D010939-014160 (20190408)\CRST_D012936_CONFIDENTIAL.xlsx                   1A6F13E00F555F5DCE04FF54B6562E5B      200,657
152    ..\CRST_D010939-014160 (20190408)\CRST_D012937.pdf                                 BD7E19B6E49D17DB60A5D9D338FCF911   28,515,256
153    ..\CRST_D010939-014160 (20190408)\CRST_D013463.pdf                                 6EA0B0ACFCD58DF9DEAD201C8C586C4E      659,800
154    ..\CRST_D010939-014160 (20190408)\CRST_D013480_CONFIDENTIAL.xlsx                   4BE81B2CEDB3AB68A2E411FED79EC13E      276,934
155    ..\CRST_D010939-014160 (20190408)\CRST_D013481_CONFIDENTIAL.xls                    41616F39B49FC246276A87F6BC9FBADC        19,968
156    ..\CRST_D010939-014160 (20190408)\CRST_D013482.pdf                                 FBBA341EDE373E86730A2705878F653D      538,494
157    ..\CRST_D010939-014160 (20190408)\CRST_D013491.pdf                                 721B9294FB181E8B6C43E54FB41B25DB      199,542
158    ..\CRST_D010939-014160 (20190408)\CRST_D013495_CONFIDENTIAL.xlsx                   1ABB40D0609CC806C879325A6C9439F6        16,937
159    ..\CRST_D010939-014160 (20190408)\CRST_D013496.pdf                                 6E7D25D8417E69A320535F95C12A0EBE    2,336,345
160    ..\CRST_D010939-014160 (20190408)\CRST_D013527_CONFIDENTIAL.xlsx                   B50EC5A34EEAFB969DBDFE23CBA32F14        38,844
161    ..\CRST_D010939-014160 (20190408)\CRST_D013528.pdf                                 DA06EDE22DAAC19A2DCCFE48D3A517FC    4,019,350
162    ..\CRST_D010939-014160 (20190408)\CRST_D013604.pdf                                 3FE9F3BFE451B91845FBCC3776B6AD52      521,297
163    ..\CRST_D010939-014160 (20190408)\CRST_D013615_CONFIDENTIAL.xlsx                   B41BB215453173807F968103D2E231DB        54,359
164    ..\CRST_D010939-014160 (20190408)\CRST_D013616.pdf                                 9AEBCC6F014A99B815632C7CE485FA34        49,602
165    ..\CRST_D010939-014160 (20190408)\CRST_D013617.pdf                                 22EFD65DC69DB395A7271D5FEBD44584    1,235,356
166    ..\CRST_D010939-014160 (20190408)\CRST_D013640_CONFIDENTIAL.xlsx                   B97711606184048D92915176A3375D06        21,467
167    ..\CRST_D010939-014160 (20190408)\CRST_D013641.pdf                                 0B7291A3DEAE87EB45046423823D10C8    5,688,354
168    ..\CRST_D010939-014160 (20190408)\CRST_D013760_CONFIDENTIAL.xlsx                   E0FF0C8A71E7DB01E807353C7F935316        26,171
169    ..\CRST_D010939-014160 (20190408)\CRST_D013761.pdf                                 6C0FEB73AC7870BCDDFC752BDDB1D2BF      219,942
170    ..\CRST_D010939-014160 (20190408)\CRST_D013764_CONFIDENTIAL.xlsx                   710DDDE3F62F9A6E9B8EB8BDF1987FC1        15,225
171    ..\CRST_D010939-014160 (20190408)\CRST_D013765.pdf                                 A9A9655D4AA185F5739D9BDCB7B80D63      615,678
172    ..\CRST_D010939-014160 (20190408)\CRST_D013777.pdf                                 3CC030604413AFAB52366035A274BA5F      510,150
173    ..\CRST_D010939-014160 (20190408)\CRST_D013786_CONFIDENTIAL.xlsx                   0553AB802C0D571663376F4912762B9E        18,336
174    ..\CRST_D010939-014160 (20190408)\CRST_D013787_CONFIDENTIAL.xlsx                   06987F861E0DDDC0943595AE87C15750        21,891
175    ..\CRST_D010939-014160 (20190408)\CRST_D013788.pdf                                 40282ADC4E0C621B037F8DFF2CE587C0    1,317,408
176    ..\CRST_D010939-014160 (20190408)\CRST_D013813.pdf                                 8DF116164BD765D4A714994D2E2A89AA      414,670
177    ..\CRST_D010939-014160 (20190408)\CRST_D013820_CONFIDENTIAL.xlsx                   AD72236194D18D7CE3D82DC5FF782A0F        28,873
178    ..\CRST_D010939-014160 (20190408)\CRST_D013821.pdf                                 F421C452090312E4EE57FCB5E8E04E96      676,786
179    ..\CRST_D010939-014160 (20190408)\CRST_D013830_CONFIDENTIAL.xlsx                   255B78528EE5320531515E4308A79FC6        35,830
180    ..\CRST_D010939-014160 (20190408)\CRST_D013831.pdf                                 B1D965A6DB49603048E75392E41515B1    3,401,603
181    ..\CRST_D010939-014160 (20190408)\CRST_D013894.pdf                                 FE9827C3D0843D8A38B58DABDD4B3095      250,876
182    ..\CRST_D010939-014160 (20190408)\CRST_D013900_CONFIDENTIAL.xlsx                   DA4B403979A8C5FB9391953491DAB75C        57,799
183    ..\CRST_D010939-014160 (20190408)\CRST_D013901_CONFIDENTIAL.xlsx                   AE66E7DBD3864573718E97CE85464C3C        14,458
184    ..\CRST_D010939-014160 (20190408)\CRST_D013902.pdf                                 F88485DEE3D7669A474272A055D2D0D9      261,210
185    ..\CRST_D010939-014160 (20190408)\CRST_D013907.pdf                                 B91854D49BADD5279E4E41C8067B6F84    5,852,688
186    ..\CRST_D010939-014160 (20190408)\CRST_D014032_CONFIDENTIAL.xlsx                   8084D4A2F6E4D54EEDE0E2B1AF0F9550        17,003
187    ..\CRST_D010939-014160 (20190408)\CRST_D014033.pdf                                 F68504DADC821B58B1679A1A9E4DD855    2,151,568
188    ..\CRST_D010939-014160 (20190408)\CRST_D014068_CONFIDENTIAL.xlsx                   35295662CAFFAB46D131CD80FAA61832        37,672
189    ..\CRST_D010939-014160 (20190408)\CRST_D014069.pdf                                 FFE3873E0F3652F7E655A846B39B1AEB    4,446,165
190    ..\CRST_D010939-014160 (20190408)\CRST_D014152.pdf                                 D98ED72165C028C94B6027FD53F1D965      393,020
191    ..\CRST_D010939-014160 (20190408)\CRST_D014160_CONFIDENTIAL.xlsx                   095030E608831CC1384A36ED29F6C15F        62,043
192    ..\CRST_D014161-015635 (20190418)\CRST_D014161.pdf                                 3DC38E6C1AD06E116DB8676E5322F4B6      219,658




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                        Case 2:18-cv-08751-MCS-FFM Document 72-7 Filed 11/22/19 Page 48 of 56 Page ID
                                                         #:1156
Line
No.    Filename                                                                           MD5 Hash                           Size (bytes)
193    ..\CRST_D014161-015635 (20190418)\CRST_D014164_CONFIDENTIAL.xlsx                   462E92D1A35252AB78EF2F6C7DF98F96        15,435
194    ..\CRST_D014161-015635 (20190418)\CRST_D014165.pdf                                 0BE663436A7DCF9A7A2A168DA07BE86A      506,162
195    ..\CRST_D014161-015635 (20190418)\CRST_D014175.pdf                                 76DA782CE417229815BBC861711AB911      511,175
196    ..\CRST_D014161-015635 (20190418)\CRST_D014184_CONFIDENTIAL.xlsx                   5031910104267ADCC4D80EB99239D6B5        17,163
197    ..\CRST_D014161-015635 (20190418)\CRST_D014185_CONFIDENTIAL.xlsx                   40E0574A2CF495EC977EA755BFF6CFB6        17,800
198    ..\CRST_D014161-015635 (20190418)\CRST_D014186.pdf                                 4428C1E4521D1E6084F52BBDDAF7FB7A    1,152,533
199    ..\CRST_D014161-015635 (20190418)\CRST_D014208.pdf                                 B9A3FFCB6A56552BD7A9562AE49C5694         8,829
200    ..\CRST_D014161-015635 (20190418)\CRST_D014209_CONFIDENTIAL.xlsx                   3288C6A8F1F02D122F91AA77BF936C70        24,464
201    ..\CRST_D014161-015635 (20190418)\CRST_D014210.pdf                                 56A99671E76B53F4EC2691C75196A9AC      931,605
202    ..\CRST_D014161-015635 (20190418)\CRST_D014222_CONFIDENTIAL.xlsx                   534B9CE3D7AF3FED9E9FAC46D9813DBA        27,950
203    ..\CRST_D014161-015635 (20190418)\CRST_D014223.pdf                                 D5614077127A801126F63DD5FF429BF2    2,505,139
204    ..\CRST_D014161-015635 (20190418)\CRST_D014271.pdf                                 8E77B2F685B3670E16340C1324769457      359,149
205    ..\CRST_D014161-015635 (20190418)\CRST_D014279_CONFIDENTIAL.xlsx                   C5EC9C4E7A52A21C811092EC0CD34467        40,028
206    ..\CRST_D014161-015635 (20190418)\CRST_D014280.pdf                                 52EA9116055131A8239DBF388F19AFB4        20,956
207    ..\CRST_D014161-015635 (20190418)\CRST_D014281.pdf                                 C78D020F7E16CDE5732E06C626E14DB7      246,742
208    ..\CRST_D014161-015635 (20190418)\CRST_D014286.pdf                                 25C6C54843A251182A98E567DCA58E55      380,640
209    ..\CRST_D014161-015635 (20190418)\CRST_D014294.pdf                                 9C5F4FB7BA4BD28DFA0CDD646FEA75FB      826,320
210    ..\CRST_D014161-015635 (20190418)\CRST_D014305_CONFIDENTIAL.xlsx                   A80AE72E21331C4CAB2ECF5C8B2B91BF        15,750
211    ..\CRST_D014161-015635 (20190418)\CRST_D014306.pdf                                 BBEFFE90B7AECDF3F44F7ED02EA43EAD      458,353
212    ..\CRST_D014161-015635 (20190418)\CRST_D014315.pdf                                 563687AAD8A37782DFAA7AFBBF856C55      565,909
213    ..\CRST_D014161-015635 (20190418)\CRST_D014324_CONFIDENTIAL.xlsx                   DB8D41B479836A5C32F367152526CA4B        17,346
214    ..\CRST_D014161-015635 (20190418)\CRST_D014325_CONFIDENTIAL.xlsx                   FF70AB2560758CB3CBB4349D6C75E445        14,613
215    ..\CRST_D014161-015635 (20190418)\CRST_D014326.pdf                                 EA4EF12A0DE7E20AC82828B98A630253      359,877
216    ..\CRST_D014161-015635 (20190418)\CRST_D014333.pdf                                 D9EC005F2135A8DB74A0E200B7999ADD      978,970
217    ..\CRST_D014161-015635 (20190418)\CRST_D014355_CONFIDENTIAL.xlsx                   11FC2A28A397E05E83E56F9BCFC79661        17,366
218    ..\CRST_D014161-015635 (20190418)\CRST_D014356.pdf                                 29BAA060134BC106BCE58417D611C425      266,998
219    ..\CRST_D014161-015635 (20190418)\CRST_D014359.pdf                                 8A33172212CFC8EE14CBAA8F9C3FD3F3        99,620
220    ..\CRST_D014161-015635 (20190418)\CRST_D014361.pdf                                 665C794FBC7F831BBE841B53D1C44CFF         8,283
221    ..\CRST_D014161-015635 (20190418)\CRST_D014362.pdf                                 17612F20EED8A8A521A758CDEED75DDF      163,679
222    ..\CRST_D014161-015635 (20190418)\CRST_D014365_CONFIDENTIAL.xlsx                   C530A2DE89890711659BDB26D7EEFD65        15,462
223    ..\CRST_D014161-015635 (20190418)\CRST_D014366.pdf                                 AB4F31CA445DE256546C52C9879BDE68      494,327
224    ..\CRST_D014161-015635 (20190418)\CRST_D014376.pdf                                 54F40B158C23710893DC03A507C960C5    1,965,352
225    ..\CRST_D014161-015635 (20190418)\CRST_D014405_CONFIDENTIAL.xlsx                   FA46D7BD403700EE72EB727B95084D2F        16,263
226    ..\CRST_D014161-015635 (20190418)\CRST_D014406.pdf                                 1ED57BCB1D9416AE0996767F878A6F09      698,854
227    ..\CRST_D014161-015635 (20190418)\CRST_D014414_CONFIDENTIAL.xlsx                   449A852FED3BDD1361587421F4BC8FF9        26,272
228    ..\CRST_D014161-015635 (20190418)\CRST_D014415.pdf                                 F37B3E5473D73B4085F5B68857E20AC7    2,588,264
229    ..\CRST_D014161-015635 (20190418)\CRST_D014464.pdf                                 9320CAE3914B9CA071BEA74AF6357E0E      456,588
230    ..\CRST_D014161-015635 (20190418)\CRST_D014473_CONFIDENTIAL.xlsx                   08752DF7343EDCFC475C78E9236A9FB3        39,846
231    ..\CRST_D014161-015635 (20190418)\CRST_D014474.pdf                                 B193F1A289D98E1F83519161E7773C4C    2,884,459
232    ..\CRST_D014161-015635 (20190418)\CRST_D014517_CONFIDENTIAL.xlsx                   B0958ECD55132F0B3E5D4C616D6ADF54        57,427
233    ..\CRST_D014161-015635 (20190418)\CRST_D014518.pdf                                 DD1FB009AC50686A4E12C9C0B6464896   13,802,271
234    ..\CRST_D014161-015635 (20190418)\CRST_D014775.pdf                                 135D299C012397970F134F57723C81AE      718,598
235    ..\CRST_D014161-015635 (20190418)\CRST_D014792_CONFIDENTIAL.xlsx                   8F2CD907A75994B13F17C4D38D1B8CDD        59,709
236    ..\CRST_D014161-015635 (20190418)\CRST_D014793.pdf                                 984A76C708C6ABDA19B13FFE2A369620    2,206,481
237    ..\CRST_D014161-015635 (20190418)\CRST_D014822_CONFIDENTIAL.xlsx                   C01C24CFC1F6D7C98738D353A4400D9C        19,538
238    ..\CRST_D014161-015635 (20190418)\CRST_D014823.pdf                                 2CD400065A98ADFD1768EFBA809027D1    1,051,991
239    ..\CRST_D014161-015635 (20190418)\CRST_D014843.pdf                                 581FE85F78AFE9F1489B9C80D9062A97      428,895
240    ..\CRST_D014161-015635 (20190418)\CRST_D014852_CONFIDENTIAL.xlsx                   002C4B6209FAEA2D26062993A910FEC4        21,670




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                        Case 2:18-cv-08751-MCS-FFM Document 72-7 Filed 11/22/19 Page 49 of 56 Page ID
                                                         #:1157
Line
No.    Filename                                                                           MD5 Hash                           Size (bytes)
241    ..\CRST_D014161-015635 (20190418)\CRST_D014853_CONFIDENTIAL.xlsx                   E195F8E5DF9FCFB2958B4DA9ED48E405        20,481
242    ..\CRST_D014161-015635 (20190418)\CRST_D014854.pdf                                 14AB8341ABF8DD2ADBD5AEBC0A515438    1,020,385
243    ..\CRST_D014161-015635 (20190418)\CRST_D014873.pdf                                 050621D47FED3660CDE870AE17E4530E      310,441
244    ..\CRST_D014161-015635 (20190418)\CRST_D014881_CONFIDENTIAL.xlsx                   045063B6C1A7370AA8E0946D64F97B23        27,903
245    ..\CRST_D014161-015635 (20190418)\CRST_D014882_CONFIDENTIAL.xlsx                   92BB01D05647F5D4FB73A7BFBE3B6E78        15,147
246    ..\CRST_D014161-015635 (20190418)\CRST_D014883.pdf                                 B157AB11CB24AD9812EBC52759CB128C      429,809
247    ..\CRST_D014161-015635 (20190418)\CRST_D014891.pdf                                 C24C20829D5CFEDBF8E775AED2525F79      423,247
248    ..\CRST_D014161-015635 (20190418)\CRST_D014897_CONFIDENTIAL.xlsx                   21D9022328C686610CC9A9569BE072CE        21,601
249    ..\CRST_D014161-015635 (20190418)\CRST_D014898.pdf                                 58BEF2070B637DF379F4BCBAD59ADD9B      223,112
250    ..\CRST_D014161-015635 (20190418)\CRST_D014901_CONFIDENTIAL.xlsx                   3AC972652F3BF67C61FBEE4D616B5D6A        25,732
251    ..\CRST_D014161-015635 (20190418)\CRST_D014902.pdf                                 8B1919C017B0FA43D04E84F629EF90E4    2,246,235
252    ..\CRST_D014161-015635 (20190418)\CRST_D014944.pdf                                 854723E3FEC4BF1B79BF62D560CB96A6      590,022
253    ..\CRST_D014161-015635 (20190418)\CRST_D014952_CONFIDENTIAL.xlsx                   422D32CB2873442DED085F1AD049ACCB        41,524
254    ..\CRST_D014161-015635 (20190418)\CRST_D014953.pdf                                 CA1762808B4042E7FF38DC527FCDAA7F      292,614
255    ..\CRST_D014161-015635 (20190418)\CRST_D014959_CONFIDENTIAL.xlsx                   B48A9F007A774BFCDB7F9E40F0EEFDC3        48,081
256    ..\CRST_D014161-015635 (20190418)\CRST_D014960.pdf                                 360411C0661FA4A92E48D5374902F740    5,350,233
257    ..\CRST_D014161-015635 (20190418)\CRST_D015058.pdf                                 8E3CED0ACFC2BEE5FA763ECA58BF870A      469,645
258    ..\CRST_D014161-015635 (20190418)\CRST_D015068_CONFIDENTIAL.xlsx                   E6A7CCCFD385FD3732C19FD5E68FD495        77,322
259    ..\CRST_D014161-015635 (20190418)\CRST_D015069.pdf                                 E9ED3D26EA42F018DB55F408B449803A      319,765
260    ..\CRST_D014161-015635 (20190418)\CRST_D015074_CONFIDENTIAL.xlsx                   7434A3D5847A652D57C7762CA0FC3E57        16,621
261    ..\CRST_D014161-015635 (20190418)\CRST_D015075.pdf                                 B9A2FE7A4935EF984B212E7552D3F2E2      980,523
262    ..\CRST_D014161-015635 (20190418)\CRST_D015094.pdf                                 0BA0AE88AC19703B8533F2BAC5F0D540      584,994
263    ..\CRST_D014161-015635 (20190418)\CRST_D015102_CONFIDENTIAL.xlsx                   4F62F59EAEA15D8CE88663D3D8E21C88        20,518
264    ..\CRST_D014161-015635 (20190418)\CRST_D015103.pdf                                 F828431B6B2859269F4535AA478FBBD9    1,776,787
265    ..\CRST_D014161-015635 (20190418)\CRST_D015128_CONFIDENTIAL.xlsx                   CFD7D39A3CEEAE44976B18642D19AE0D        23,343
266    ..\CRST_D014161-015635 (20190418)\CRST_D015129.pdf                                 0B6E2BF8A551B7D4715EFA1DBF62BD01    1,517,448
267    ..\CRST_D014161-015635 (20190418)\CRST_D015158.pdf                                 0E4CE9BFD83D44CF1D55FE53D9682D06      577,117
268    ..\CRST_D014161-015635 (20190418)\CRST_D015168_CONFIDENTIAL.xlsx                   68260A2639C15631EA02FD071601A665        32,023
269    ..\CRST_D014161-015635 (20190418)\CRST_D015169.pdf                                 13585BA78B4D848DD6288B69714DAC41      325,533
270    ..\CRST_D014161-015635 (20190418)\CRST_D015175_CONFIDENTIAL.xlsx                   1216B1956AA5E28F5BE9515748A2B15E        44,992
271    ..\CRST_D014161-015635 (20190418)\CRST_D015176.pdf                                 973463F7E6C84551E676C469DD4B142A    7,495,270
272    ..\CRST_D014161-015635 (20190418)\CRST_D015319.pdf                                 3F30E20B712BE3F865EAE9D7E0DA559D      467,677
273    ..\CRST_D014161-015635 (20190418)\CRST_D015330_CONFIDENTIAL.xlsx                   BA94486258DFEAD1B9D672FB26E2711D        78,941
274    ..\CRST_D014161-015635 (20190418)\CRST_D015331.pdf                                 87B1086C0592179A258274C651A2C152      770,165
275    ..\CRST_D014161-015635 (20190418)\CRST_D015341_CONFIDENTIAL.xlsx                   287BEC34D91FD9228C5FAFB588AB3317        21,715
276    ..\CRST_D014161-015635 (20190418)\CRST_D015342.pdf                                 B144D3B2BC044F6C2ABAF368E3DF0E60    1,199,777
277    ..\CRST_D014161-015635 (20190418)\CRST_D015365.pdf                                 FA43BCCE8C3531AD32F6E07867FBB87E      311,484
278    ..\CRST_D014161-015635 (20190418)\CRST_D015373_CONFIDENTIAL.xlsx                   BA6D098BA90DE076FC365075845925C4        26,491
279    ..\CRST_D014161-015635 (20190418)\CRST_D015374.pdf                                 83BFF9B5474A3CE0060ADAB9D95CE258    1,469,498
280    ..\CRST_D014161-015635 (20190418)\CRST_D015394_CONFIDENTIAL.xlsx                   7994C3894621DBB2EF58AEFD97C7D743        55,998
281    ..\CRST_D014161-015635 (20190418)\CRST_D015395.pdf                                 7561DD5B1667DBD45E7DFA000D00990C    5,508,433
282    ..\CRST_D014161-015635 (20190418)\CRST_D015498.pdf                                 1BC5B4D348497F428C976365C92DEB86      525,906
283    ..\CRST_D014161-015635 (20190418)\CRST_D015509_CONFIDENTIAL.xlsx                   388DBE6A5F3174D4DF88BF033B27B9B6        74,228
284    ..\CRST_D014161-015635 (20190418)\CRST_D015510.pdf                                 A5CF414C418938B154407AF7E38B77B4    3,050,941
285    ..\CRST_D014161-015635 (20190418)\CRST_D015542_CONFIDENTIAL.xlsx                   0F1CDE00CE159FA36600FB956017942F        38,918
286    ..\CRST_D014161-015635 (20190418)\CRST_D015543.pdf                                 0014553594BFFF62DEC4FCEE289AA320    4,331,759
287    ..\CRST_D014161-015635 (20190418)\CRST_D015623.pdf                                 2910BEB7B1CF5426F38EED7DB809C726      585,334
288    ..\CRST_D014161-015635 (20190418)\CRST_D015635_CONFIDENTIAL.xlsx                   A4D3650A4C630774735D92F1EA853E4A        73,034




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                                                         #:1158
Line
No.    Filename                                                                           MD5 Hash                           Size (bytes)
289    ..\CRST_D015636-016052 (20190418)\CRST_D015636.pdf                                 3C01C268BE62DB1DB783EC945C76A909    1,848,692
290    ..\CRST_D015636-016052 (20190418)\CRST_D015660.pdf                                 68329AD4A815C5783F97B14F4A45F1CA    1,685,268
291    ..\CRST_D015636-016052 (20190418)\CRST_D015688.pdf                                 727B9135B201A3E2F0551BE8D6735E4B    1,151,997
292    ..\CRST_D015636-016052 (20190418)\CRST_D015706_CONFIDENTIAL.xlsx                   BB3D51AF95DF7413117FBE2E2FFB3C50        37,104
293    ..\CRST_D015636-016052 (20190418)\CRST_D015707.pdf                                 45F3C976FE8C43931CB882996290E224    3,783,459
294    ..\CRST_D015636-016052 (20190418)\CRST_D015776_CONFIDENTIAL.xlsx                   122B4C9CE42F24317022D5573016F148        67,016
295    ..\CRST_D015636-016052 (20190418)\CRST_D015777.pdf                                 E09E93D53D4F1E1093ED776D5D3E44DD      146,680
296    ..\CRST_D015636-016052 (20190418)\CRST_D015782.pdf                                 8DBD567BEA86954209D6E80B51A2EE5D      404,006
297    ..\CRST_D015636-016052 (20190418)\CRST_D015795.pdf                                 9A84F9DF3D9D25990559713A3878A6BF      891,591
298    ..\CRST_D015636-016052 (20190418)\CRST_D015809_CONFIDENTIAL.xlsx                   DA29E423D507CBF52314CD97006DAC77        48,012
299    ..\CRST_D015636-016052 (20190418)\CRST_D015810.pdf                                 7C46731AFD1910E51A43F52150CE9B24    6,797,828
300    ..\CRST_D015636-016052 (20190418)\CRST_D015935_CONFIDENTIAL.xlsx                   42873269FF42CF1605B297572B7BD97B        90,533
301    ..\CRST_D015636-016052 (20190418)\CRST_D015936.pdf                                 8A258C9310911169E35FC485C647F8CB    1,190,003
302    ..\CRST_D015636-016052 (20190418)\CRST_D015956_CONFIDENTIAL.xlsx                   55EF2E051EEB6B6646C0E829C0A1BE59        50,054
303    ..\CRST_D015636-016052 (20190418)\CRST_D015957.pdf                                 1CB1179DBAC6038AB5DE7A2F938F2909      693,633
304    ..\CRST_D015636-016052 (20190418)\CRST_D015970.pdf                                 329A9C58EA21F7073BBA4DE0488F2A3D      559,010
305    ..\CRST_D015636-016052 (20190418)\CRST_D015985_CONFIDENTIAL.xlsx                   368F3842CE40EE4A7E2361394B451A56        64,489
306    ..\CRST_D015636-016052 (20190418)\CRST_D015986_CONFIDENTIAL.xlsx                   A8736E963E96FC42EF17C7A7D11A1BE4        15,153
307    ..\CRST_D015636-016052 (20190418)\CRST_D015987.pdf                                 840A34AE5907520561CCD546EC13624F      461,943
308    ..\CRST_D015636-016052 (20190418)\CRST_D015996.pdf                                 395BFDD3503AD2501C54B016AFCF62AE      525,545
309    ..\CRST_D015636-016052 (20190418)\CRST_D016006_CONFIDENTIAL.xlsx                   E33EDF0D8260DC5D05426E8E8F60AAE4        18,032
310    ..\CRST_D015636-016052 (20190418)\CRST_D016007_CONFIDENTIAL.xlsx                   9A15D78A6706B62AF2815D40761417D7        70,290
311    ..\CRST_D015636-016052 (20190418)\CRST_D016008_CONFIDENTIAL.xlsx                   04E8CF3FFE8D6EDA78F91F63BF261BE9        48,677
312    ..\CRST_D015636-016052 (20190418)\CRST_D016009_CONFIDENTIAL.xlsx                   ACE8D8DB4ED5B88062215F64559674C0      269,745
313    ..\CRST_D015636-016052 (20190418)\CRST_D016010_CONFIDENTIAL.xlsx                   DFBCD471E737E14A6DEC554FFBE9735B        46,857
314    ..\CRST_D015636-016052 (20190418)\CRST_D016011_CONFIDENTIAL.xlsx                   5247DB5975BC38D7D074B6D6457D6952      334,701
315    ..\CRST_D015636-016052 (20190418)\CRST_D016012_CONFIDENTIAL.xlsx                   26C1123CDD0A2761F0D65E7BFC05668A        56,292
316    ..\CRST_D015636-016052 (20190418)\CRST_D016013_CONFIDENTIAL.xlsx                   709230F082CCDA913D191D1D3B0B9D87        93,134
317    ..\CRST_D015636-016052 (20190418)\CRST_D016014_CONFIDENTIAL.xlsx                   602BD6BF641CA45D7E7FCCCE56309768      354,990
318    ..\CRST_D015636-016052 (20190418)\CRST_D016015_CONFIDENTIAL.xlsx                   3F3D873375E3606B31E705F278365200      579,418
319    ..\CRST_D015636-016052 (20190418)\CRST_D016016_CONFIDENTIAL.xlsx                   1E31064FFE445BAFFF4DAE7603069DD9      294,253
320    ..\CRST_D015636-016052 (20190418)\CRST_D016017_CONFIDENTIAL.xlsx                   24319462307103DDAA17B451A3C87E8B      191,959
321    ..\CRST_D015636-016052 (20190418)\CRST_D016018_CONFIDENTIAL.xlsx                   77326FB8BC0BEEF79ED34A7ABD1C9361    1,475,986
322    ..\CRST_D015636-016052 (20190418)\CRST_D016019_CONFIDENTIAL.xlsx                   82D7454FC32B358A7C2DD8D11FF6C204      928,576
323    ..\CRST_D015636-016052 (20190418)\CRST_D016020_CONFIDENTIAL.xlsx                   B3D37C2086AE1250B3205ED8600BBFEF      672,368
324    ..\CRST_D015636-016052 (20190418)\CRST_D016021_CONFIDENTIAL.xlsx                   6B79D7B3B1B0F0D120090534F00E8751      730,965
325    ..\CRST_D015636-016052 (20190418)\CRST_D016022_CONFIDENTIAL.xlsx                   2708E0072B0583C88A191F5A16F0A801      140,595
326    ..\CRST_D015636-016052 (20190418)\CRST_D016023_CONFIDENTIAL.xlsx                   63481E700961282AE5EECFFC5708C461    1,599,457
327    ..\CRST_D015636-016052 (20190418)\CRST_D016024_CONFIDENTIAL.xlsx                   45E4B02EBADFBCF56DE64E43C0A7E6F7        19,095
328    ..\CRST_D015636-016052 (20190418)\CRST_D016025_CONFIDENTIAL.xlsx                   1D5DA107362333C46F262A9ED06E3516      423,240
329    ..\CRST_D015636-016052 (20190418)\CRST_D016026_CONFIDENTIAL.xlsx                   935C2FFF4A5A55B82E7B9A881B93907C      268,538
330    ..\CRST_D015636-016052 (20190418)\CRST_D016027_CONFIDENTIAL.xlsx                   6558F80C06019F9A689B729642BE9C15        36,272
331    ..\CRST_D015636-016052 (20190418)\CRST_D016028_CONFIDENTIAL.xlsx                   60FADD22649FEFDB08D20EE653890412      448,509
332    ..\CRST_D015636-016052 (20190418)\CRST_D016029_CONFIDENTIAL.xlsx                   7AFBAA9D076ACD9EDE8E8CACDA77FEED        26,495
333    ..\CRST_D015636-016052 (20190418)\CRST_D016030_CONFIDENTIAL.xlsx                   2F1FC080150EBF41076559FFD1BC548D      313,323
334    ..\CRST_D015636-016052 (20190418)\CRST_D016031_CONFIDENTIAL.xlsx                   26E9FA38C49C792F31D0402EEF34B9DD        22,807
335    ..\CRST_D015636-016052 (20190418)\CRST_D016032_CONFIDENTIAL.xlsx                   D6A0DDD901F5E7328F68131F6E7C6E9C        74,861
336    ..\CRST_D015636-016052 (20190418)\CRST_D016033_CONFIDENTIAL.xlsx                   36AD62E08A026B56B87A91CD422849E4      172,503




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                                                          #:1159
Line
No.    Filename                                                                                                       MD5 Hash                           Size (bytes)
337    ..\CRST_D015636-016052 (20190418)\CRST_D016034_CONFIDENTIAL.xlsx                                               F393F3754BC1BA8C496789C476E210F3        34,676
338    ..\CRST_D015636-016052 (20190418)\CRST_D016035_CONFIDENTIAL.xlsx                                               C786162811A73DCAB5D3D011FA394146        49,083
339    ..\CRST_D015636-016052 (20190418)\CRST_D016036_CONFIDENTIAL.xlsx                                               F4A0140AF26A11CACAC1C6C0DF692BF0      390,784
340    ..\CRST_D015636-016052 (20190418)\CRST_D016037_CONFIDENTIAL.xlsx                                               76B12DE1C3D626A1EF0E3A13D0053A26        22,562
341    ..\CRST_D015636-016052 (20190418)\CRST_D016038_CONFIDENTIAL.xlsx                                               EE9F48F4E4540907999BF4AE996AA29B      411,437
342    ..\CRST_D015636-016052 (20190418)\CRST_D016039_CONFIDENTIAL.xlsx                                               E35E069266E9AB2917118B1AC9063C96      887,355
343    ..\CRST_D015636-016052 (20190418)\CRST_D016040_CONFIDENTIAL.xlsx                                               038EEEBDCE120447C95091A4F45D714F      155,646
344    ..\CRST_D015636-016052 (20190418)\CRST_D016041_CONFIDENTIAL.xlsx                                               584BB299B17CACE9A6927048D44375A9        85,828
345    ..\CRST_D015636-016052 (20190418)\CRST_D016042_CONFIDENTIAL.xlsx                                               B76B054210A546B583D1502C08992591        32,675
346    ..\CRST_D015636-016052 (20190418)\CRST_D016043_CONFIDENTIAL.xlsx                                               0221496AE0C84295459FD14002F292F6      153,989
347    ..\CRST_D015636-016052 (20190418)\CRST_D016044_CONFIDENTIAL.xlsx                                               45E94BD84A478997298AD2ADBF5B064F      447,577
348    ..\CRST_D015636-016052 (20190418)\CRST_D016045_CONFIDENTIAL.xlsx                                               BFDC96617657B49E0877943F01099EE9      285,856
349    ..\CRST_D015636-016052 (20190418)\CRST_D016046_CONFIDENTIAL.xlsx                                               99867FC15BC0751E8F1DD616354B02F9        46,092
350    ..\CRST_D015636-016052 (20190418)\CRST_D016047_CONFIDENTIAL.xlsx                                               BCB9227925916D00616FF3E7C8A7805E        99,858
351    ..\CRST_D015636-016052 (20190418)\CRST_D016048_CONFIDENTIAL.xlsx                                               26D2410C05C41BA7001983F56773B547        36,497
352    ..\CRST_D015636-016052 (20190418)\CRST_D016049_CONFIDENTIAL.xlsx                                               D6144BC9F209CF841FD75414C3EDD116      253,175
353    ..\CRST_D015636-016052 (20190418)\CRST_D016050_CONFIDENTIAL.xlsx                                               DEE02139210D7EB9BD9B9FDFA3CF35B3      180,320
354    ..\CRST_D015636-016052 (20190418)\CRST_D016051_CONFIDENTIAL.xlsx                                               7B4F74D223C9E63B4701B25CABF5923E      467,105
355    ..\CRST_D015636-016052 (20190418)\CRST_D016052_CONFIDENTIAL.xlsx                                               7B8CFD6F3CC54EC29A197AB1AB6E1F18      368,570
356    ..\CRST_D016053-016053 (20190502)\CRST_D016053.xlsx                                                            A68EEE9C2464BC81FFEF627BCC647D1E      659,474
357    ..\DKR000001-000556 (20180809)\Plaintiff's Initial Disclosures Pursuant to FRCP 6.5.18.pdf                     4AA9C4CC539436C4AB4F2C234842C0EA   68,403,800
358    ..\DKR000557-000848 (20180608)\STAMPED\DKR000557_Dueker, Christopher-Comdate Cardholder Activity Summary.pdf   AD2AE849DBE0F71E4874AAC48EE69A12    2,026,166
359    ..\DKR000557-000848 (20180608)\STAMPED\DKR000569_Dueker, Christopher-CRST balance.pdf                          9598EC8A3218B0880DFC159AA42B2D76    1,320,915
360    ..\DKR000557-000848 (20180608)\STAMPED\DKR000574_Dueker, Christopher-CRST Driver Employment Contract.pdf       1B4A4E53012FEB083428E3EA536E5B33    1,187,989
361    ..\DKR000557-000848 (20180608)\STAMPED\DKR000577_Dueker, Christopher-Driver Logs 4.5.17-10.4.17.pdf            0323A4FA2BA66AB3E2609D2570C87113   27,252,955
362    ..\DKR000557-000848 (20180608)\STAMPED\DKR000786_Dueker, Christopher-Labor Commissioner Initial Report.pdf     13E3335E1F2A28D019AD42042996D42A    1,472,221
363    ..\DKR000557-000848 (20180608)\STAMPED\DKR000790_Dueker, Christopher-Payroll Statement 3.28.17-12.27.17.pdf    0D3C9EFD29596D2C4EB5906EA5B437B4   10,758,565
364    ..\DKR000557-000848 (20180608)\STAMPED\DKR000845_Dueker, Christopher-Student Coordinator Matching Screen.pdf   04760797F829CD910CDA6E25AAFB4A3B      856,174
365    ..\DKR000849-000849 SUPPLEMENTAL NATIVE EXCEL\STAMPED\DKR000849_Spreadsheets - PODs, Set One.xlsx              8A1E694C51258EB0E4DCC3F5F980D88F        27,036
366    ..\DKR000850-000916\DKR000850.pdf                                                                              45B41E87126464A9ACF7295DF23A25A9    6,695,742




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                          EXHIBIT C

     Time Spent in California in Sleeper Status

            Source Code Extracts from Exhibit J1 and J2
                    Woolfson September Report




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   Line No.   Source Code
      001     update sleeper set [start1] = (select startTime from drivers where
      002     drivers.driverId = sleeper.Driverid and drivers.counter = [c1]);
      003     update sleeper set [start2] = (select startTime from drivers where
      004     drivers.driverId = sleeper.Driverid and drivers.counter = [c2]);
      005     update sleeper set [start3] = (select startTime from drivers where
      006     drivers.driverId = sleeper.Driverid and drivers.counter = [c3]);
      007     update sleeper set [start4] = (select startTime from drivers where
      008     drivers.driverId = sleeper.Driverid and drivers.counter = [c4]);

   Figure C.1: Store Start Time into Sleeper Table Exhibit J2 of September Report Page 12
   (emphasis added)



   Line No.   Source Code
      001     update sleeper set [finish1] = (select startTime from drivers where
      002     drivers.driverId = sleeper.Driverid and drivers.counter = [c1]+1)
      003     update sleeper set [finish2] = (select startTime from drivers where
      004     drivers.driverId = sleeper.Driverid and drivers.counter = [c2]+1)
      005     update sleeper set [finish3] = (select startTime from drivers where
      006     drivers.driverId = sleeper.Driverid and drivers.counter = [c3]+1)
      007     update sleeper set [finish4] = (select startTime from drivers where
      008     drivers.driverId = sleeper.Driverid and drivers.counter = [c4]+1)

   Figure C.2: Store Finish Time into Sleeper Table Exhibit J2 of September Report Page 14
   (emphasis added)



   Line No.   Source Code
      001     update sleeper set [minutes1] = datediff(minute,[start1] , [finish1] ) where
      002     [miles1] > 2;
      003     update sleeper set [minutes2] = datediff(minute,[start2] , [finish2] ) where
      004     [miles2] > 2;
      005     update sleeper set [minutes3] = datediff(minute,[start3] , [finish3] ) where
      006     [miles3] > 2;
      007     update sleeper set [minutes4] = datediff(minute,[start4] , [finish4] ) where
      008     [miles4] > 2;

   Figure C.3: Calculate Total Minutes based on Start and Finish of Driver Log Segment and
   store in Sleeper Table Exhibit J2 of September Report Page 22



   Line No.   Source Code
      001     update sleeper set [oStart1] = (select odometer from drivers where
      002     drivers.driverId = sleeper.Driverid and drivers.counter = [c1]);
      003     update sleeper set [oStart2] = (select odometer from drivers where
      004     drivers.driverId = sleeper.Driverid and drivers.counter = [c2]);
      005     update sleeper set [oStart3] = (select odometer from drivers where
      006     drivers.driverId = sleeper.Driverid and drivers.counter = [c3]);
      007     update sleeper set [oStart4] = (select odometer from drivers where
      008     drivers.driverId = sleeper.Driverid and drivers.counter = [c4]);

   Figure C.4: Store Odometer Start Miles into Sleeper Table Exhibit J2 of September Report
   Page 17 (emphasis added)




                                             Ex. E, p. 491
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   Line No.   Source Code
      001     update sleeper set [oFinish1] = (select odometer from drivers where
      002     drivers.driverId = sleeper.Driverid and drivers.counter = [c1]+1)
      003     update sleeper set [oFinish2] = (select odometer from drivers where
      004     drivers.driverId = sleeper.Driverid and drivers.counter = [c2]+1)
      005     update sleeper set [oFinish3] = (select odometer from drivers where
      006     drivers.driverId = sleeper.Driverid and drivers.counter = [c3]+1)
      007     update sleeper set [oFinish4] = (select odometer from drivers where
      008     drivers.driverId = sleeper.Driverid and drivers.counter = [c4]+1)

   Figure C.5: Store Odometer Finish Miles into Sleeper Table Exhibit J2 of September
   Report Page 18 (emphasis added)



   Line No.   Source Code
      001     update sleeper set [miles1] = [oFinish1] - [oStart1] ;
      002     update sleeper set [miles2] = [oFinish2] - [oStart2] ;
      003     update sleeper set [miles3] = [oFinish3] - [oStart3] ;
      004     update sleeper set [miles4] = [oFinish4] - [oStart4] ;

   Figure C.6: Calculate Total Miles based on Odometer and store in Sleeper Table Exhibit
   J2 of September Report Page 20 (emphasis added)



   Line No.   Source Code
      001     -- RUN THE SQL / VB PROCESS HERE.
      002     -- RUN THE SQL / VB PROCESS HERE.
      003     -- RUN THE SQL / VB PROCESS HERE.

   Figure C.7: Run the VB Code to Calculate the California Miles Exhibit J2 of September
   Report Page 32




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   Line No.   Source Code
      001     Filename For Output As #1
      002     SQL "SELECT crossRef, "
      003     SQL " [stateStart1] , [stateFinish1] , [minutes1] , [miles1] ,"
      004     SQL " [stateStart2] , [stateFinish2] , [minutes2] , [miles2] ,"
      005     SQL " [stateStart3] , [stateFinish3] , [minutes3] , [miles3] ,"
      006     SQL " [stateStart4] , [stateFinish4] , [minutes4] , [miles4] ,"
      007     .
      008     .
      009     .
      010     SQL " [stateStart39], [stateFinish39], [minutes39] , [miles39] ,"
      011     SQL " [stateStart40], [stateFinish40], [minutes40] , [miles40] "
      012     SQL " from sleeper"
      013     SQL "where [1] is not null"
      014     GoSQL
      015
      016     Counter = 0
      017     Do While SqlResults And Not DoEvents()
      018            DoEvents
      019            Counter = Counter + 1
      020            If (Counter Mod 50) = 0 Then L_Info(0).Caption = CStr(Counter)
      021            Text = ""
      022            For temp = 1 To 161
      023                    Text = Text & G((temp)) & Chr(9)
      024             Next
      025             Text = Left(Text, Len(Text) - 1)
      026             Print #1, Text
      027             Call MoveNext:
      028     Loop

   Figure C.8: VB Code to pull data previously stored data from Sleeper Table and save to
   Local File (#1) Exhibit J1 of September Report Page 21 & 22 (emphasis added)



   Line No.   Source Code
      001     Counter = Counter + 1
      002     L_Info(1).Caption = CStr(Counter)
      003     Line Input #1, AB$
      004     Aaron = Split(AB$, Chr(9))
      005     .
      006     .
      007     .
      008     crossref = Aaron(0)
      009     temp1 = 0
      010     For temp = 1 To UBound(Aaron) Step 4
      011             temp1 = temp1 + 1
      012             stateStart(temp1) = LCase(Aaron(temp))
      013             stateFinish(temp1) = LCase(Aaron(temp + 1))
      014             minutes(temp1) = LCase(Aaron(temp + 2))
      015             miles(temp1) = Aaron(temp + 3)
      016             If Val(miles(temp1)) <= 2 Then miles(temp1) = ""
      017             If Val(miles(temp1)) > 900 Then miles(temp1) = ""
      018     Next

   Figure C.9: VB Code to read data from Local File (#1) into temporary variables Exhibit
   J1 of September Report Page 23 (emphasis added)




                                             Ex. E, p. 493
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                                 #:1164


   Line No.   Source Code
      001     If Right(locationA, 2) = "ca" And Right(locationZ, 2) =
      002     "ca" Then
      003             californiaMiles(temp) = miles(temp)
      004             californiaMinutes(temp) = minutes(temp)
      005     End If

   Figure C.10: VB Code to use Total Segment Time and Odometer Miles if both end points of
   a segment are in California Exhibit J1 of September Report Page 23 (emphasis added)



   Line No.   Source Code
      001     SQL "select hombrook, blythe, needles, mystic, nipton"
      002     SQL "from AZ where locationA = " & p(locationA, 0, True)
      003     SQL "and locationZ = " & p(locationZ, 0, True)
      004     GoSQL
      005
      006     isFound = False
      007     Do While SqlResults And Not DoEvents()
      008            isFound = True
      009            caMiles = Val(G(1))
      010            If Val(G(2)) < caMiles Then caMiles = Val(G(2))
      011            If Val(G(3)) < caMiles Then caMiles = Val(G(3))
      012            If Val(G(4)) < caMiles Then caMiles = Val(G(4))
      013            If Val(G(5)) < caMiles Then caMiles = Val(G(5))
      014            Call MoveNext:
      015     Loop

   Figure C.11: VB Code to read data from AZ Table for distance to the Egress City into
   temporary variable caMiles Exhibit J1 of September Report Page 24 (emphasis added)



   Line No.   Source Code
      001     If caMiles > 0 Then
      002             californiaMinutes(temp) = CInt(Val(minutes(temp) * (caMiles /
      003     miles(temp)))) - 1
      004     End If

   Figure C.12 VB Code to compute CaliforniaMinutes based on total segment minutes and
   odometer data from sleeper Table Exhibit J1 of September Report Page 24 (emphasis added)



   Line No.   Source Code
      001             Text = Text & "californiaMiles" & CStr(temp2) & " = " &
      002     p(californiaMiles(temp2), 0, True) & ","
      003             Text = Text & "californiaMinutes" & CStr(temp2) & " = " &
      004     p(californiaMinutes(temp2), 0, True) & ","
      005     Next
      006     Text = Left(Text, Len(Text) - 1)
      007     SQL "update sleeper"
      008     SQL "set " & Text
      009     SQL "where crossRef = " & p(crossref, 0, True)
      010     GoSQL

   Figure C.13 VB Code to save CaliforniaMinutes and CaliforniaMiles back to sleeper Table
   Exhibit J1 of September Report Page 24 (emphasis added)




                                             Ex. E, p. 494
